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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

PACIFIC PREMIER BANK,                        §
           Plaintiff,                        §
                                             §
       VS.                                   §           CIVIL ACTION NO. 3:17-CV-00312-B
                                             §
GROUP MIDLAND HOTELS, LLC, and               §
CHETNA HIRA,                                 §
          Defendants.                        §

  APPENDIX IN SUPPORT OF PLAINTIFF PACIFIC PREMIER BANK’S BRIEF IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       Plaintiff Pacific Premier Bank hereby submits it Appendix in Support of its Brief in

Support of its Motion for Summary Judgment as follows:

                        DESCRIPTION                                  APPENDIX
                                                                      PAGE(S)
Exhibit A: Affidavit of Mark Whalen.                               App. 1-5
Exhibit A-1: Loan agreement dated December 3, 2012, executed by App. 6-13
PPB, as lender, and GMH, as borrower, under which GMH
borrowed from PPB $2,440,000.00.
Exhibit A-2: U.S. Small Business Administration Note dated App. 14-16
December 10, 2012, executed by GMH and delivered to PPB in the
principal amount of $2,440,000.00.
Exhibit A-3: Unconditional guarantee agreement dated December App. 17-19
3, 2012, executed by Hira, which unconditionally guaranteed
GMH’s payment obligations under the Note to PPB.
Exhibit A-4: Demand letters from PPB to GMH and Hira.              App. 20-29
Exhibit B: Affidavit of Robert P. Latham                           App. 30-33
Exhibit B-1: Hira’s Responses to PPB’s First Set of Discovery App. 34-47
Requests.
Exhibit B-2 FILED UNDER SEAL: Attorneys’ Fees Invoices App. 48-65
from Jackson Walker LLP to PPB.




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                                                Respectfully submitted,

                                                JACKSON WALKER LLP
                                                2323 Ross Avenue, Suite 600
                                                Dallas, Texas 75201
                                                Telephone: (214) 953-6000


                                                By: /s/ Robert P. Latham
                                                   Robert P. Latham
                                                   State Bar No. 11975500
                                                   Email: blatham@jw.com
                                                   Lindsey E. Marsh
                                                   State Bar No. 24087977
                                                   Email: lmarsh@jw.com
                                                   ATTORNEYS FOR PLAINTIFF
                                                   PACIFIC PREMIER BANK



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2017, true and correct copies of the foregoing were
served on all parties of record via the electronic case filing notification system.

                                                      /s/ Lindsey E. Marsh
                                                      Lindsey E. Marsh




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

PACIFIC PREMIER BANK,                             §
           Plaintiff,                             §
                                                  §
           vs.                                    §   CIVIL ACTION NO. 3:17-CV-00312-B
                                                  §
GROUP MIDLAND HOTELS, LLC, and                    §
CHETNA HIRA,                                      §
          Defendants.                             §

                              AFFIDAVIT OF MARK D. WHALEN

STATE OF CALIFORNIA             §
                                §
COUNTY OF ORANGE                §

           Before me, the undersigned authority, on this day personally appeared Mark D. Whalen,

who upon his oath, deposed and stated as follows:

           1.     My name is Mark D. Whalen, I am over the age of 21, am competent to testify,

and the matters set forth herein are based upon my personal knowledge.

           2.     I am presently employed by Pacific Premier Bank ("PPB") as a Senior Vice

President and Director of Portfolio Management. The facts set forth in this affidavit are based on

my personal knowledge, all of which are true and correct. My personal knowledge is derived

from my involvement with the transactions and agreements between PPB, Group Midland

Hotels, LLC ("GMH"), and Chetna Hira ("Hira").

           3.    This Affidavit is given in support of PPB's Motion for Summary Judgment.

          4.     I am a custodian of the records of PPB. Attached hereto as Exhibits A-1 through

Exhibit A-4 are records from PPB relating to the debts at issue. These documents are true and

correct copies of the originals. These records are kept by PPB in the regular course of business,

and it was the regular course of business for an employee or representative of PPB, with


AFFIDAVIT OF MARK D. WHALEN                                                                 Page I
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                                           EXHIBIT A
                                                                                      App. 001
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knowledge of the act, event, condition, opinion, or diagnosis, recorded to make the record or to

transmit information thereof to be included in such record; and the record was made at or near

the time or reasonably soon thereafter.

        5.      Attached as Exhibits A-1-A-4 are true and correct copies of the following

documents obtained from PPB's files and records:

        A-1:    Loan Agreement, dated December 3, 2012, by and between GMH and PPB (the
                "Loan Agreement").

        A-2:    U.S. Small Business Administration Note, dated December 10, 2012, by and
                between Hira and PPB (the "Note").

        A-3:    Guaranty Agreement, dated December 3, 2012, by and between Hira and PPB
                (the "Guaranty").

        A-4:    Letters to Hira and GMH regarding demand for payment under the Loan
                Documents and Foreclosure of Collateral, dated April 13, 2015, January 20, 2016,
                March 17, 2016, and August 12, 2016 (the "Demand Letters").

        6.      On December 3, 2012, PPB, as lender, and GMH, as borrower, executed the Loan

Agreement, under which GMH borrowed from PPB $2,440,000.00.

        7.      On December 10, 2012, GMH executed and delivered to PPB the Note in the

principal amount of $2,440,000.00. Under the terms of the Note, GMH was obligated to pay

principal and interest payments of $15,724.30 (the "Note Payment") on the first day of every

month, beginning February 1, 2013, and continuing through January 1, 2038, at which time, the

remaining amount of principal and accrued unpaid interest was· payable in full.       The Note

provides that, among other things, GMH's failure to make any payment when due under the Note

is an event of default.

        8.      In accordance with the terms of the Note and Loan Agreement, PPB timely

advanced funds to GMH.




AFFIDAVIT OF MARK D. WHALEN                                                                Page 2
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                                          EXHIBIT A
                                                                                    App. 002
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        9.     On December 3, 2012, and in connection with the Loan Agreement and Note,

Hira entered into an unconditional guaranty agreement.       The Guaranty is an unconditional

guaranty of GMH' s payment obligations under the Note to PPB.

         10.   PPB is the legal owner and holder of the Note and the Guaranty.

         11.   Since 2015, GMH has failed to make timely Note Payments to PPB. On April 13,

2015, January 20, 2016, and March 17, 2016, PPB made repeated demands for payment from

Defendants, as shown in Exhibit A-4.

        12.    On August 1, 2016, GMH failed to pay the amounts due under the Note and Loan

Agreement, and GMH has failed to make any further payments under the Note. On August 12,

2016, PPB provided demand to GMH and Hira for the amounts due under the Note and

Guaranty. See Exhibit A-4. Hira has failed and refused to make payments required by the

Guaranty.

        13.    As of May 4, 2017, a balance of $2,411,749.19 remains due and owing on the

Note after taking into account any offsets and credits. This amount is comprised of

$2,295,647.96 in principal, $119,438.38 in interest, and $8,662.85 in late charges and fees. An

offset for adequate protection payments made by GMH in the bankruptcy lawsuit has been

included in the amount of $12,000.00. Interest continues to accrue in the amount of$424.54 per

day on the Note. This figure does not include any costs or attorneys' fees which are owed to

PPB by Hira.

        14.    PPB was required to retain the services of Jackson Walker LLP to collect the

indebtedness owed by GMH and Hira.




AFFIDAVIT OF MARK D. WHALEN                                                               Page3
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                                        EXHIBIT A
                                                                                   App. 003
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FURTHER AFFIANT SAITH NOT .




        .SUBSCRIBED AND SWORN TO BEFORE ME, on this   "d}. day of May, 2017.



My Commission Expires:




AFFIDAVIT OF MARK D. WHALEN                                                    Page4
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                                  EXHIBIT A
                                                                         App. 004
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                                                          JU RAT

A notary public or other officer completing this certificate verifies only the identity of
the individual who signed the document to which this certificate is attached, and not
the truthfulness, accuracy, or validity of that document.

State of California

County        of--+/-\/~=-
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                                 ---'-'--C-i+-ult v
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Subscribed and sworn to (or affirmed) before me on this                                 ~3f_,~ay of \rYl {)JJ\ ___
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                 by "\rv\                                         Q,R,,                                 \    0
proved to me on the basis of satisfactory evidence to be the personW who appeared
before me.




SignatU're__:J v                                         (Seal)


        OPTIONAL INFORMATION                                                                INSTRUCTIONS                                        /
                                                            The wording of all Jurats completed in California after January 1, ~015~themu           form
                                                            as set forth within this Jura!. There are no exceptions. If a Jura! to b ompleted does not
                                                            follow this form, the notary must correct the verbiage by using · rat stamp containing the
                                                            correct wording or attaching a separate jurat form such          is one with does contain the
                                                            proper wording. In addition, the notary must re i an oath or affirmation from the
 DESCRIPTION OF THE ATTACHED DOCUMENT                       document signer regarding the truthfulness           the contents of the document. The
                                                            document must be signed AFTER the o_91 or affirmation. If the document was previously
                                                            signed, it must be re-signez in front .rthe notary public during the jurat process.
 (Title or description of attached document)
                                                             • State and coun\y.A formation must be the state and county where the
                                                               document sjgr<e"r(s) personally appeared before the notary public.
 (Title or description of attached document continued)
                                                             • Date gt/notarization must be the date the signer(s) personally
                                                               ap eared which must also be the same date the jurat process is
                                                                ompleted.
 Number of Pages _ _ Document Date____                       • Print the name(s) of the document signer(s) who personally appear at
                                                               the time of notarization.
                                                             • Signature of the notary public must match the signature on file with the
 Additional information                                        office of the county clerk.
                                                             • The notary seal impression must be clear and photographically
                                                               reproducible. Impression must not cover text or lines. If seal impression
                                                               smudges, re-seal if a sufficient area permits, otherwise complete a
                                                               different ju rat form.
                                                                              ·:·   Additional information Is not required but could help
                                                                                    to ensure this jurat is not misused or attached to a
                                                                                    different document.
                                                                              ·:·   Indicate title or type of attached document. number of
                                                                                    pages and date.
                                                             • Securely attach this document to the signed document with a staple.


201 5 Ve rsion www.NotaryC las se s.com 800-87 3-9865


                                                           EXHIBIT A
                                                                                                                                       App. 005
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    References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or Item.
                              Any item above containing • * • •" has been omitted due to text length limitations.
Borrower:       Group Midland Hotels, LLC, a Texas limited liability           Lender:         Pacific Premier Bank
                company                                                                        17901 Von Karman, 12th Floor
                2500 Commerce Drive                                                            Irvine, CA 92614
                Midland, TX 79703                                                              (7141431-4000


 THIS BUSINESS LOAN AGREEMENT dated December 3, 2012, is made and executed between Group Midland Hotels, LLC, a Texas limited
 liability company !"Borrower") and Pacific Premier Bank ("lender") on the following terms and conditions. Borrower has received prior
 commercial loans from Lender or has applied to Lender for a commercial loan or loans or other financial accommodations, including those which
 may be described on any exhibit or schedule attached to this Agreement. Borrower understands and agrees that: (A) in granting, renewing, or
 extending any Loan, Lender is relying upon Borrower's representations, warranties, and agreements as set forth in this Agreement; !Bl the
 granting, renewing, or extending of any Loan by Lender at all times shall be subject to Lender's sole judgment and discretion: and !Cl all such
 Loans shall be and remain subject to the terms and conditions of this Agreement. This Agreement shall apply to any and all present and future
 loans, loan advances, extension of credit, financial accommodations and other agreements and undertakings of every nature and kind that may
 be entered into by and between Borrower and Lender now and in the future.
 TERM. This Agreement shall be effective as of December 3, 2012, and shall continue in full force and effect until such time as all of Borrower's
 Loans In favor of Lender have been paid in full, including principal, interest, costs, expenses, attorneys' fees, and other fees and charges, or
 until such time as the parties may agree in writing to terminate this Agreement. ·
 CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the Initial Advance and each subsequent Advance under this
 Agreement shall be subject to the fulfillment to lender's satisfaction of all of the conditions set forth in this Agreement and In the Related
 Documents.
      Loan Documents. Borrower shell provide to Lender the following documents for the Loan: (1) the Note; 12) Security Agreements
      granting to Lender security interests in the Collateral; !31 financing statements and all other documents perfecting Lender's Security
      Interests; 141 evidence of Insurance as required below; i5l guaranties; (6l subordinations; 171 together with all such Related
      Documents as lender may require for the Loan; all In form and subst~nce satisfactory to Lender and Lender's counsel.
      Borrower's Authorization. Borrower shall have provided in form and substance satisfactory to Lender properly certified resolutions, duly
      authorizing the execution and delivery of this Agree·ment, the Note and the Related Documents. In addition, Borrower shall have provided
      such other resolutions, authorizations, documents and instruments as lender or its counsel, may require.
      Payment of Fees and Expenses. Borrower shall have paid.to Lender all fees, charges, and other expanses which are then due and payable
      as specified in this Agreement or any Related Document.
      Representations and Warranties. The representations and warranties sat forth in this Agreement, In the Related Documents, and in any
      document or certificate del!vered to Lender under this Agreement are true and correct.
      No Event of Default. There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this
      Agreement or under any Related Document.
 REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the date of each
 disbursement of loan proceeds, as of the date of any renewal, extension or modification of any Loan, and at all times any Indebtedness exists:
     Organization. Borrower is a limited liability company which is, and at all times shall be, duly organized, validly existing, and in good
     standing under and by virtue of the laws of the State· of Texas. Borrower is duly authorized to transact business in all other states In which
     Borrower Is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which Borrower is
     doing business. Specifically, Borrower is, and at all times· shall be, duly qualified as a foreign limited liability company in all states in which
     the failure to so qualify would have a material adverse effect on its business or financial condition. Borrower has the full power and
     authority to own Its properties and to transact the business in whicp it is presently engaged or presently proposes to engage. Borrower
     maintains an office at 2600 Commerce Drive, Midland, TX 79703. Unless Borrower has designated otherwise in writing, the principal
     office Is the office at which Borrower keeps Its books and records Including Its records concerning the Coilateral. Borrower will notify
     Lender prior to eny change in the location of Borrower's state of organization or any change in Borrower's name. Borrower shall do all
     things necessary to preserve and to keep in full force and effect its existence, rights and privileges, and shall comply with all regulations,
     rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental authority or court appllcable to Borrower and
     Borrower's business activities.
     Assumed Business Names. Borrower has filed or recorded all documents or filings required by law relating to all assumed business names
     used by Borrower. Excluding the name of Borrower, the following iS a complete list of all assumed business names under which Borrower
     does business:
           Borrower                                Assumed Business Name                          Filing Location                  Date
          Group Midland Hotels, LLC, a             Travelodge                                     Texas Secretary of State         10-01-2012
          Texas limited liability company
     Authorization. Borrower's execution, delivery, and performance of this Agreement and all the Related Documents have been duly
     authorized by all necessary action by Borrower, do 1not require the consent or approval of any other person, regulatory authority, or
     governmental body, and do not conflict with, result in a violation of, or constitute a default under 11 l any provision of (a) Borrower's
     articles of organization or membership agreements, or lbl any agreement or other Instrument binding upon Borrower or (2) any law,
     governmental regulation, court decree, or order applicable to Borrower or to Borrower's properties. Borrower has the power and authority
     to enter Into the Note and the Related Documents and to grant collateral as security for the Loan. Borrower has the further power and
     authority to own and to hold all of Borrower's assets and properties, and to carry on Borrower's business as presently conducted.
     Financial Information. Each of Borrower's financial statements supplied to Lender truly and completely disclosed Borrower's financial
     condition as of the date of the statement, and there has bean no material adverse change in Borrower's financial condition subsequent to
     the date of the most recent financial statement supplied to lender. Borrower has no material contingent obligations except as disclosed in
     such financial statements.
     Legal Effect. This Agreement constitutes, anp any instrument or £!greement Borrower is required to give under this Agreement when



                                                           EXHIBIT A-1
                                                                                                                           App. 006
                                                                                                              ..--"
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                                                                                                         PageID 150
                                                  BUSINESS LOAN AGREEMEN 1
Loan No: 62-700159-22                                    (Continued}                                                  C- l-e-             Page 2

    delivered will constitute legal, valid, end binding obligations of Borrower enforceable against Borrower in accordance with their respective
    terms.
    Properties. Except as contemplated by this Agreement or es previously disclosed in Borrower's financial statements or In writing to Lender
    end as accepted by Lender, and except for property tax liens for taxes not presently due and payable, Borrower owns and has good title to
    all of Borrower's properties free and clear of all Security Interests, end has not executed any security documents or financing statements
    relating to such properties. All of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing
    statement under any other name for at least the last five (6) years.
    Hazardous Substances. Except as disclosed to and acknowledged by Lender In writing, Borrower represents and warrants that: (1) During
    the period of Borrower's ownership of the Collateral, there has been no use, generation, manufacture, storage, treatment, disposal, release
    or threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral. (21 Borrower has no
    knowledge of, or reason to believe that there has been (a} any breach or violation of any Environmental Laws; (bl any use, generation,
    manufacture, storage, treatment, disposal, release or threatened release of any Hazardous Substance on, under, about or from the
    Collateral by any prior owners or occupants of any of the Collateral; or le) any actual or threatened litigation or claims of any kind by any
    person relating to such matters. (3) Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Collateral
    shall use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from any of the
    Collateral; and any such activity shall be cond.ucted in compliance with all applicable federal, state, and local laws, regulations, and
    ordinances, including without limitation all Environmental Laws. Borrower authorizes Lender and its agents to enter upon the Collateral to
    make such inspections and tests as Lender may deem appropriate to determine compliance of the Collateral with this section of the
    Agreement. Any inspections or tests made by Lender shall be at Borrower's expense and for Lender's purposes only and shall not be
    construed to create any responsibility or liability on the part of Lender to Borrower or to any other person. The representations and
    warranties contained herein are based on Borrower's due diligence In Investigating the Collateral for hazardous waste and Hazardous
    Substances. Borrower hereby 11) releases and waives any future claims against Lender for indemnity or contribution in the event
    Borrower becomes liable for cleanup or other costs under any such laws, and (2) agrees to indemnify, defend, and hold harmless Lender
    against any and all claims, losses, liabilities, damages, penalties, and expenses which Lender may directly or indirecdy sustain or suffer
    resulting from a breach of this section of the Agreement or as a consequence of any use, generation, manufacture, storage, disposal,
    release or threatened release of a hazardous waste or substance on the Collateral. The provisions of this section of the Agreement,
    Including the obligation to indemnify and defend, shall survive the payment of the Indebtedness and the termination, expiration or
    satisfaction of this Agreement and shall not be affected by Lender's. acquisition of any interest in any of the Collateral, whether by
    foreclosure or otherwise.                                   '
    Litigation and Claims. No litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes}
    against Borrower is pending or threatened, and no other event has.occurred which may materially adversely affect Borrower's financial
    condition or properties, other than litigation, claims, or other events, if any, that have been disclosed to and acknowledged by Lender in
    writing.                       •
    Taxes. To the best of Borrower's knowledge, all of Borrower's tax returns and reports that are or were required to be filed, have been
    filed, and all taxes, assessments and other governmental charges have been paid in full, except those presently being or to be contested by
    Borrower in good faith in the ordinary course of business and for which adequate reserves ~ave been provided.
    Lien Priority. Unless otherwise previously disclosed to Lender in writing, Borrower has not entered into or granted any Security
    Agreements, or permitted the filing or attachment of any S.ecurlty Interests on or affecting any of the Collateral directly or indirectly
    securing repayment of Borrower's Loan and Note, that would be prior or that may In any way be superior to Lender's Security Interests and
    rights In and to such Collateral.
    Binding Effect. This Agreement, the Note, all Security Agreements (if any), and all Related Documents are binding upon the signers
    thereof, as well as upon their successors, representatives and assigns, and are legally enforceable In accordance with their respective
    terms.
    Commercial Purposes. Borrower Intends to use the Loan proceeds solely for business or commarclally related purposes.
    Employee Benefit Plans. Each employee benefit plan :as to which Borrower may have any liability complies in all material respects with all
    applicable requirements of law end regulations, and 11 l no Reportable Event nor Prohibited Transaction las defined in ERISA) has occurred
    with respect to any such plan, (2) Borrower has ncit withdrawn from any such plan or initiated steps to do so, (3) no steps hava been
    taken to terminate any such plan or to appoint a trustee to administer such a plan, and (4) there are no unfunded liabilities other than
    those previously disclosed to Lender in writing.
    Investment Company Act. Borrower is not an "Investment company" or a company "controlled" by an "investment company", within the
    meaning of the Investment Company Act of 1940, as amended.
    Public Utility Holding Company Act. Borrower is not a "holding company", or a "subsidiary company" of a "holding company", or an
    "affiliate" of a "holding company" or of a "subsidiary company• of a "holding company•, within the meaning of the Public Utility Holding
    Company Act of 1936, as amended.
    Regulations T and U. Borrower is not engaged principally, or as one of its important activities, in the business of extending credit for tha
    purpose of purchasing or carrying margin stock (within the meaning of Regulations T and U of the Board of Governors of the Federal
    Reserve Systern).
    Information. All information previously furnished or which Is now being furnished by Borrower to Lender for the purposes of or in
    connection with this Agreement or any transaction contemplated by this Agreement is, and all Information furnished by or on behalf of
    Borrower to Lender In the future will be, true and accurate in every material respect on the date as of which such information is dated or
    certified; and no such information is or will be incomplete by omitting to state any material fact the omission of which would cause the
    information to be misleading.
    Claims and Defenses. There are no defenses or counterclaims, offsets or other adverse claims, demands or actions of any kind, personal or
    otherwise, that Borrower, any Granter, or any Guarantor could assert with respect to the Note, Loan, this Agreement, or the Related
    Documents.
AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so long as this Agreement remains in effect, Borrower will:
    Repayment. Repay the Loan in accordance with its terms and the terms of this Agreement.
    Notices of Claims and Litigation. Promptly inform Lender in wrlti.ng of (1) all material adverse changes in Borrower's financial condition,
    and {2) all existing and ail threatened litigation, claims, investigations, administrative proceedings or similar actions affecting Borrower or
    any Guarantor which could materlally affect the financial condition of Borrower or the financial condition of any Guarantor. In addition,


                                                        EXHIBIT A-1
                                                                                                                            App. 007
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                                    c·
                                                                                                 Page 10 of 49 PageID 151
                                                                                                              INITIAL
                                                                  BUSINESS LOAN AGREEMENT
Loan No: 62-700159-22                                                         {Gontinued}                      _c>k:                       Page 3

   Borrower ~ha!I provide Lender with written notice of the occurrence of any Event of Default, the occurrence of any Reportable Event under,
   or the lnst1tut1on of steps by Borrower to withdraw from, or the institution of any steps to terminate, any employee benefit plan as to which
   Borrower may have any liability.
   Financlal Records. Maintain its books and records in accordance with GAAP, applied on a consistent basis, and permit Lender to examine
   and audit Borrower's books and records at all reasonable times.                                .
   Financial Statements. Furnish Lender with the following:
         Annual Statements. As soon as available, but in no event later than ninety {90) days after the end of each fiscal year, Borrower's
         balance sheet and income statement for the year ended, prepared by Borrower.
         Tax Returns. As soon as avallable, but in no event later than 15 days after the applicable filing date for the tax reporting period ended,
         Borrower's Federal and other governmental tax return's, prepared by a certified public accountant satisfactory to Lender.
         Additional Requirements. In addition to all other financial reporting requirements set forth in this Agreement, Borrower shall provide
         Lender with the following:                                                              .
         Annual Schedules: As soon as available, but in no event later tha~ 90 days after the end of each fiscal year, Borrower shall provide
         Lender with a detailed real estate schedule, prepared by Borrower and any other schedules deemed appropriate by Lender.
         GUARANTOR FINANCIAL REQUIREMENTS:
         Annual Statements. As soon as available, but in no event later than ninety (90) days after the end of each fiscal year, Guarantor's
         balance sheet and income statement for the year ended, prepared by Guarantor.
         Tax Returns. As soon as available, but in no event later than 15 deys after the applicable flllng date for the tax reporting period ended,
         Federal and other governmental tax returns, prepared by a certified public accountant.
         Annual Schedules: As soon as available, but in no event later than 90 days after the end of each fiscal year, Guarantorshall provide
         Lender with a complete debt schedule and detailed real estate schedule, prepared by Guarantor and any other schedules deemed
         appropriate by Lender.                                         ·
  All financial reports required to be provided under this Agreement shall be prepared In accordance with GAAP, applied on a consistent
  basis, and certified by Borrower as being true and correct.
  Additional Information. Furnish such additional information and statements, as Lender may request from time to time.
  Insurance. Maintain fire and other risk insurance, public liability insurance, and such other insurance as Lender may require with respect to
  Borrower's properties and operations, ln form, amounts, coverages end with Insurance companies acceptable to Lender. Borrower, upon
  request of Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including
  stipulations that coverages will not be cancelled or diminished without at least· thirty {30) days prior written notice to Lender. Each
  insurance policy also shall include an endorsement providing that coverage in favor of Lender will not be impaired In any way by any act,
  omission or default of Borrower or any other person. In connection with all policies covering assets in which Lender holds or is offered a
  security interest for the Loans, Borrower will provide Lender with such lender's loss payable or other endorsements as Lender may require.
  Insurance Reports. Furnish to Lender, upon request of Lender, reports on each existing insurance policy showing such information as
  Lender may reasonably request, including without limitation the following: (1} the name of the insurer; 121 the risks insured; (31 the
  amount of the policy; (4) the properties insured; (5): the then current property values on the basis of which insurance has been obtained,
  and the manner of determining those values; and {6} the expiration date of the policy. In addition, upon request of Lender (however not
  more often than annually), Borrower will have an independent appraiser satisfactory to Lender determine, as applicable, the actual cash
  value or replacement cost of any Collateral. The cost of such appraisal shall be paid by Borrower.
  Guaranties. Prior to disbursement of any Loan proceeds, furnish executed guaranties of the Loans in favor of Lender, executed by the
  guarantor named below, on Lender's forms, and in the amount end under the conditions set forth in those guaranties.
                 Name of Guarantor                             Amount
                 Chetna Hira                                   $ 2.440 ,000 .oo
  Subordination. Prior to disbursement of any Loan proceeds, deliver to Lender a subordination agreement on Lender's forms, executed by
  Borrower's creditor named below, subordinating all of Borrower's Indebtedness to such creditor, or such lesser amount as may be agreed
  to by Lender in writing, and any security Interests in collateral securing that indebtedness to the Loans and security interests of Lender.
                           Name of Creditor                                Total Amount of Debt
                                       S.A.V. TEXAS I, LLC, a Texas limited:                $200,000.00
                                       liability company
  Other Agreements. Comply with all terms ~nd "conditions of all other agreements, whether now or hereafter existing, between Borrower
  and any other party and notify Lender immediately in writing of any default in connection with any other such agreements.
  Loan Proceeds. Use all Loan proceeds solely for Borrower's business operations, unless specifically consented to the contrary by Lender in
  writing.       ·
  Taxes, Charges and Liens. Pay and discharge when due all of its indebtedness and obligations, Including without limitation all assessments,
  taxes, governmental charges, levies and liens, of every kind and nature, imposed upon Borrower or its properties, income, or profits, prior
  to the date on which penalties would attach, and all lawful claims that, if unpaid, might become a lien or charge upon any of Borrower's
  properties, income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, charge,
  levy, lien or claim so long as (1) the legality of the same shall be contested in good faith by appropriate proceedings, and 121 Borrower
  shall have established on Borrower's books adequate reserves with respect to such contested assessment, tax, charge, levy, lien, or claim
  in accordance with GAAP.
  Performance. Perform and comply, in a timely manner, with all terms,'c~nditlons, and provisions set forth in this Agreement, in the Related
  Documents, and in all other instruments and agreements between Borrower and Lender, and in all other loan agreements now or in the
  future existing between Borrower and any other party. Borrower shall notify Lender immediately in writing of any default In connection
  with any agreement.
  Operations. Maintain executive and management personnel with substantially the same qualifications and experience as the present
  executive and management personnel; provide written notice to Lender of any change in executive and management personnel; conduct its
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     Environmental Studies. Promptly conduct and complete, at Borrower's expense, all such investigations, studies, samplings and testings as
     may be requested by Lender or any governmental authority relative to any substance, or any waste or by-product of any substance defined
     as toxic or a hazardous substance under applicable federal, state, or locµI law, rule, re·gulation, order or directive, at or affecting any
     property or any facility owned, leased or used by Borrower.
     Compliance with Governmental Requirements. Comply with all laws, ordinances, and regulations, now or hereafter in effect, of all
     governmental authorities applicable to the conduct of Borrower's properties, businesses and operations, and to the use or occupancy of the
     Collateral, including without !imitation, the Americans With Disabilities Act. Borrower may contest in good faith any such law, ordinance,
     or regulation and withhold compliance during any proceeding, including appropriate appeals, so Jong as Borrower has notified Lender in
     writing prior to doing so and so long as, in Lender's sole opinion, Lender's interests in the Collateral are not jeopardized. Lender may
     require Borrower to post adequate security or a surety bond, reasonably satisfactory to Lender, to protect Lender's Interest.
     Inspection. Permit employees or agents of Lender at any reasonable time to inspect any and all Collateral for the Loan or loans and
     Borrower's other properties and to examine or audit Borrower's books, accounts, and records and to make copies and memoranda of
     Borrower's books, accounts, and records, If Borrower now orat any time hereafter maintains any records (including without limitation
     computer generated records and computer ,so~ware programs for the generation of such records) in the possession of a third party,
     Borrower, upon request of Lender, shall ·notify such, party to· permit Lender·free access to such records at all reasonable times and to
     provide Lender with copies of any records it may request, all at Borrower's expense.
     Change of location. Immediately notify Lender in writing of any additions to or changes in the location of Borrower's businesses.
    Title to Assets and Property. Maintain good and marketable title to all of Borrower's assets and properties.
     Notice of Default, Litigation and ERISA Matters, Forthwith upon learning of the occurrence of any of the following, Borrower shall provide
     Lender with written notice thereof, describing the same and the steps being taken by Borrower with respect thereto: (1) the occurrence of
     any Event of Default, or (2) the institution of, or any adverse determination In, any litigation, arbitration proceeding or governmental
     proceeding, or {3) the occurrence of a Reportable Event under, or the institution of steps by Borrower to withdraw from, or the Institution
     of any steps to terminate, any employee benefit plan as to which Borrower may have any liability.
     Other Information. From time to time Borrower will provide Lender with such other information as Lender may reasonably request.
     Employee Benefit Plans. So long as this Agreement remains In eff~ct, Borrower will maintain each employee benefit plan as to which
     Borrower may have any liability, in compliance with all applicable requirements of law and regulations.
     Compliance Certificates. Unless waived In writing by Lender, provide Lender at least annually, with a certificate executed by Borrower's
     chief financlel officer, or other officer or person acceptable ~o Lendw,. certifying that the representations and warranties set forth in this
     Agreement are true and correct as of the date of the certificate and further certifying that, as of the date of the certificate, no Event of
     Default exists under this Agreement.
     Environmental Compliance and Reports. Borrower shall comply in all respects with any and all Environmental Laws; not cause or permit to
     exist, as a result of an intentional or unintentional action or omlssio·n on Borrower's part or on the part of any third party, on property
     owned and/or occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental
     activity is pursuant to and in compliance with the conditions of a permit issued by the appropriate federal, state or local governmental
     authorities; shall furnish to Lender promptly and in any event within thirty (30) days after receipt thereof a copy of any notice, summons,
     lien, citation, directive, letter or other communication from any governmental agency or instrumentality concerning any intentional or
     unintentional action or omission on Borrower's part In connection with any environmental activity whether or not there Is damage to the
     environment end/or other natural resources.
                                                          '         .
     Additional Assurances. Make, execute and deliver to lender such promissory notes, mortgages, deeds of trust, security agreements,
     assignments, financing statements, instruments, documents and :other agreements as Lender or Its attorneys may reasonably request to
     evidence and secure the Loans and to perfect all",Secu;ity Interests.
LENDER'S EXPENDITURES. If any action or proceeding ~is commenced that would materially affect Lender's interest In the Collateral or if
Borrower falls to comply with any provision of this Agrel!lment or any Related Documents, Including but not limited to Borrower's failure to
discharge or pay when due any amounts Borrower is required to discharge or pay under this Agreement or any Related Documents, Lender on
Borrower's behalf may !but shall not be obligated to! take any action that Lender deems appropriate, including but not limited to discharging or
paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on any Collateral and paying all costs for
insuring, maintaining and preserving any Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Borrower. All such expenses will become
a part of the Indebtedness and, at Lender's option, will . {A) be payable on demand; {Bl be added to the balance of the Note and be
apportioned among and be payable with any installment payments to become due during either (1) the term of any applicable insurance .policy;
or (2) the remaining term of the Note; or IC! be treated as a balloon payment which will be due and payable at the Note's maturity.
NEGATIVE COVENANTS. Borrower covenants and agrees with L~nder that while this Agreement is in effect, Borrower shall not, without the
prior written consent of Lender:                            ·   ·                                              ·
     Continuity of Operations. (1) Engage in any business activities substantially different than those in which Borrower is presently engaged,
      121 cease operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change Its name, dissolve or transfer or sell
     Collateral out of the ordinary course of business, or (3) make any distribution with respect to any capital account, whether by reduction of
     capital or otherwise.
CESSATION OF ADVANCES. If Lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
other agreement, Lender shall have no obligation to make·Loan Advances or to disburse Loan proceeds if: !Al Borrower or any Guarantor is in
default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
Lender; (Bl Borrower or any Guarantor dies, becomes incompetent or become!' Insolvent, files a petition in bankruptcy or similar proceedings,
or is adjudged a bankrupt; {C) there occurs a material adverse change in Borrower's financial condition, in the financial condition of any
Guarantor, or in the value of any Collateral securing any Loan; or {Dl any Guarantor seeks, claims or otherwise attempts to limit, modify or
revoke such Guarantor's guaranty of the Loan or any other loan with Lender.
DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
     Payment Default. Borrower falls to make any paym~nt when due;\.mder the Loan.
     Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement
     or In any of the Related Documents or to comply wi.th or to .perform any term, obligation, covenant or condition contained in any other
     agreement between Lender and Borro-:ver.


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    Default in Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or
    sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's or any
    Grantor's property or Borrower's or any Grantor's ability to repay the Loans or perform their respective obligations under this Agreement or
    any of the Related Documents.
    False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf, or made
    by Guarantor, under this Agreement or the Related Documents in connection with the obtaining of the Loan evidenced by the Note or any
    security document directly or indirectly securing repayment of the Note is false or misleading in any material respect, either now or at the
    time made or furnished or becomes false or misleading at any time thereafter.
    Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue Is made), any member withdraws from
    Borrower, or any other termination of Borrower's existence as a going business or the death of any member, the insolvency of Borrower,
    the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout,
    or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.
    Defoctiva Collateralization. This Agre·ement or any of the Related Documents ceases to be in full force and effect (including failure of any
    collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
    Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
    repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the Loan.
    This includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event of Default shall
    not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
    forieiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
    a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, In its sole discretion, as being an adequate
    reserve or bond for the dispute.
    Execution; Attachment. Any execution or attachment is levied against the Collateral, and such execution or attachment Is not set aside,
    discharged or stayed within thirty 1301 days after the same is levied.
    Change in Zoning or Public Restriction. Any change in any zoning 'ordinance or regulation or any other public restriction ls enacted, adopted
    or implemented, that limits or defines the 'uses which may ·be made of the Collateral such that the present or intended use of the Collateral,
    as specified in the Related Documents, would be in violation of such zoning ordinance or regulation or public restriction, as changed.
    Default Under Other Lien Documents. A default occurs under any other mortgage, deed of trust or security agreement covering all or any
    portion of the Collateral.
    Judgment. Unless adequately covered by insurance in the opinion of Lender, the entry of a final judgment for the payment of money
    Involving more than ten thousand dollars {.$10,000.00) against Borrower and the failure by Borrower to discharge the same, or cause it to
    be discharged, or bonded off to Lender's satisfaction, within thirty (30) days from the date of the order, decree or process under which or
    pursuant to which such judgment was entered.
    Events Affecting Guarantor. Any of the preceding events occurs with respect. to any Guarantor of any of the Indebtedness or any
    Guarantor dies or becomes incompetent, or revokes or disputes the valldlty of, or liability under, any Guaranty of the Indebtedness.
    Adverse Change. A material adverse change occurs in: Borrower's; financial condition, or Lender believes the prospect of payment or
    performance of the Loan is Impaired.                      ·
EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwise provided In this Agreement or the Related
Documents, all commitments and obligations of Lender under this Agreement or the Related Documents or any other agreement immediately will
terminate !including any obllgatlon to make further Loan Advances or disbursements), and, at Lender's option, all Indebtedness immediately will
become due and payable, all without notice of any kind to Borrower, except that in the case of an Event of Default of the type described In the
"Insolvency" subsection above, such acceleration shall be automatic end not optional. In addition, Lander shall have all the rights and remedies
provided in the Related Documents or available at law, in equity, or otherwise. Except as may be prohibited by appllcable law, all of Lender's
rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
exclude pursuit of any other remedy, and an election to make expenditures or to take action 'to perform an obligation of Borrower or of any
Grentor shall not affect Lender's right to declare a default and to exercise its rights and remedies. ·                                     ··
ADDITIONAL DOCUMENTS. Borrower shall provide Lender with the follo:-"'lng additional documents:
     Articles of Organization and Company Resolutions. 'sorrower has· provided or will provide Lender with a certified copy of Borrower's
     Articles of Organization, together with a certified copy of resolutions properly adopted by the members of the company, under which the
     members authorized one or more designated members or employees to execute this Agreement, the Note and any and all Security
     Agreements directly or Indirectly securing repayment of the same, and to consummate the borrowings and other transactions as
     contemplated under this Agreement, and ,to consent to the remedies following any defal!lt by Borrower as provided in this Agreement and
     In any Security Agreements.                        ·   •        1

     Opinion of Counsel. When required by Lender, Boirow~r has provided or wlll provide Lender with an opinion of Borrower's counsel
     certifying to and that: (1) Borrower's Note, any Security Agreements and this Agreement constitute valid and binding obligations on
     Borrower's part that are enforceable In accordance with their respective terms; 121 Borrower is validly existing and In good standing; 131
     Borrower has authority to enter into this Agreement and to consummate the transactions contemplated under this Agreement; and (41
     such other matters as may have bean requested by Lender or by Lender's counsel.
SUBORDINATION OF SHAREHOLDER DEBT. Borrower shall notify Lender in writing prior to incurring any additional debt to its shareholders.
Any shareholder debt that Borrower incurs after the date of this Loan shall be subordinated to any and all indebtedness that Borrower ,now owes
or may in the future owe to Lender. Each such debt subordination shall be made according to the terms and conditions of Lender's standard
debt subordination agreement, which may, among other things, prohibit any payments on the shareholder indebtedness until all indebtedness
that Borrower owes Lender has been paid off and closed.                     ,
PROHIBITION AGAINST ADDITIONAL DEBT. Borrower shall not incur any additional debt from any third-party (with the exception of customary
short term trade payable accounts and/or specific equipment financing) without the Lender's prior written consent, which consent may be
withheld by Lender in its sole and absolute discretion.
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are.a part of this Agreement:
    Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
    as to the matters set forth in this Agreement. fllo alteration of or amendment to this Agreement shall be effective unless given in writing
    and signed by the party or parties sought to be charged or bouhd by the alteration or amendment.

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  Attorneys' Fees; Expenses. Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees
  and Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
  enforce this Agreement, and Borrower shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's
  attorneys' fees and legal expenses whether or not there ls a lawsuit, including attorneys' fees and legal expenses for bankruptcy
  proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-Judgment collection
  services. Borrower also shall pay all court costs and such additional fees as may be directed by the court.
  Borrower Information. Borrower consents to the release of Information on or about Borrower by Lender In accordance with any court order,
  law or regulation and in response to credit inquiries concerning Borrower.
  Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
  provisions of this Agreement.
  Consent to Loan Participation. Borrower agrees ·and consents to Lender's sale or transfer, whether now or later, of one or more
  participation Interests in the Loan to ·one or imore purchasers, whether related or unrelated to Lender. Lender may provide, without any
  limitation whatsoever, to any one or more purchasers, or potential purchasers, any information or knowledge Lender may have about
  Borrower or about any other matter relating to the Loan, and Borrower hereby waives any rights to privacy Borrower may have with respect
  to such matters. Borrower additionally waives any anil all notices of sale of participation interests, as well as all notices of any repurchase
  of such participation Interests. Borrower also agrees that the purchasers of any such participation interests will be considered as the
  absolute owners of such interests in the Loan and will have all the rights granted under the participation agreement or agreements
  governing the sale of such participation interests. Borrower further waives all rights of offset or counterclaim that it may have now or later
  against Lender or against any purchaser of such a participation Interest and unconditionally agrees that either Lender or such purchaser may
  enforce Borrower's obligation under the Loan irrespective of the failure or insolvency of any holder of any interest in the Loan. Borrower
  further agrees that the purchaser of any such participation interests may enforce its interests irrespective of any personal claims or
  defenses that Borrower may have against Lender.
  Applicable Law. The Loen secured by this lien was made under a United States Small Business Administration (SBA) nationwide program
  which uses tax dollars to assist small business owners. If the United States is seeking to enforce this document, then under SBA
  regulations: (a} When SBA is the holder of the Note, this Clocument and all documents evidencing or securing this Loan will be construed in
  accordance with federal law. (bl Lender or SBA may use local.or state procedures for purposes such as filing papers, recording documents,
  giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal immunity from local or
  state control, penalty, tax or liability. No Borrower or Guarantor may claim or assert against SBA any local or state law to deny any
  obligation of Borrower, or defeat any claim of SBA with respect to this Loan. Any clause in this document requiring arbitration is not
  enforceable when SBA is the holder of the Note secured by this instrument.
  Choice of Venue. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Orange County,
  State of California.
  Non-Liability of Lender. The relationship between Borrower and Lender created by this Agreemant Is strictly a debtor and creditor
  relationship end not fiduciary in nature, nor is the relationship to be construed as creating any partnership or joint venture between Lender
  and Borrower. Borrower is exercising Borrower's own judgment with respect to Borrower's business. All Information supplied to Lender is
  for Lender's protection only and no other party is entitled to rely on such information. There ls no duty for Lender to review, inspect,
  supervise or inform Borrower of any matter with respect to Borrower's business. Lender and Borrower intend that Lender may reasonably
  rely on all information supplied by Borrower to Lender, together with all representations and warranties given by Borrower to Lender,
  without investigation or confirmation by Lender and that any investigation or failure to Investigate will not diminish Lender's right to so rely.
  Notice of Lender's Breach. Borrower' must i;iot\(y Lender in writing of any breach of this Agreement or the Related Documents by Lender
  and any other claim, cause of action or offset agl!linst )..ender within thirty (30)·.days after the occurrence of such breach or after the accrual
  of such claim, cause of action or offset. Borrow)'lr waives. any claim, gause of action or offset for which notice is not given in accordance
  with this paragraph. Lender is entitled to rely on any failure to give such notice.
  Indemnification of Lender. Borrower agrees to indemnify, to defend and to save ijnd hold Lender harmless from any and all claims, suits,
  obligations, damages, losses, costs and expenses (including, without limitation, Lender's attorneys' fees), demands, llabllities, penalties,
  fines and forfeitures of any nature whatsoever that may be asserted against or incurred by Lender, Its officers, directors, employees, and
  agents arising out of, relating to, or in any manner occasioned by this Agreement and the exercise of the rights and remedies granted
  Lender under this, as well as by: {1 l the ownership, use, operation, construction, renovation, demolition, preservation, management,
  repair, condition, or maintenance of any part of the Collateral; 12l the exercise of any of Borrower's rights collaterally assigned and
  pledged to Lender hereunder; (3) any failure of Borrower to perform any of its obligations hereunder; and/or !41 any failure of Borrower to
  com·ply with the environmental and ERISA obligations, representations and warranties set forth herein. The foregoing Indemnity provisions
  shall survive the cancellation of this Agreement as to all matters arlsi,ng or accruing prior to such cancellation and the foregoing indemnity
  shell survive in the event that Lender elects to exercise ariy of the remedies as provided under this Agreement following default hereunder.
  Borrower's indemnity obligations under this section shall not "in any way be affected by the presence or absence of covering Insurance, or
  by the amount of such insurance or by the failure or refusal of any insurance carrier to perform any obligation on Its part under any
  Insurance policy or policies affecting the Collateral and/or Borrower's business activities. Should any claim, action or proceeding be made
  or brought against Lender by reason of any event as to which Borrower's indemnification obligations apply, then, upon Lender's demand,
  Borrower, at its sole cost and expense, shall defend such claim, action or proceeding in Borrower's name, If necessary, by the attorneys for
  Borrower's insurance carrier (if such claim, action or proceeding is covered by Insurance), or otherwise by such attorneys as Lender shall
  approve. Lender may also engage its own attorneys at Its reasonable discretion to defend Borrower and to assist in its defense end
  Borrower agrees to pay the fees and disbursements of such attorneys.
  Counterparts. This Agreement may be executed in multiple counterparts, each of which, when so executed, shall be deemed an original,
  but all such counterparts, taken together, shall constitute one and the same Agreement.
  No Waiver by Lender. Lender shall not be deemed to have w'aived any rights under this Agreement unless such waiver is given in writing
  and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
  other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
  demand strict compliance with that provision or any other prov.ision of this Agreement. No prior waiver by Lender, nor any course of
  dealing between Lender and Borrowe~. or between Lender and any Grantor, shall constitute a waiver of any of Lender's rights or of any of
  Borrower's or any Grantor's obligations as to any future transactions. Whenever the consent of Lender is required under this Agreement,
  the granting of such consent by Lender in" any instance shall not constitute continuing consent to subsequent instances where such consent
  is required and in all cases such consent.may be granfed or withheld in the sole discretion of Lender.
  Notices. Any notice required to be given under this· Agreement shall be given in writing, and shall be effective when actually delivered,
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    or, If malled, when deposited in the United States mail, as first class, certified or registered mall postage prepaid, directed to the addresses
    shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
    notice to the other parties, specifying that the purpose of the notice Is to change the party's address. For notice purposes, Borrower
    agrees to keep Lender informed at all times of Borrower's current address. Unless otherwise provided or required by law, if there is more
    than one Borrower, any notice given by Lender to any Borrower Is deemed to be notice given to all Borrowers.
    Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, Invalid, or unenforceable as to any
    circumstance, that finding shall not make the offending provision illegal, Invalid, or unenforceable as to any other circumstance. If feasible,
    the offending provision shall be considered modified so that It.become~ legal, valid and enforceable. If the offending provision cannot be so
    modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
    of any provision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
    Sole Discretion of Lender. Whenever Lender's consent or approval ls required under this Agreement, the decision as to whether or not to
    consent or approve shall be in the sole and exclusive discretion of Lender and Lender's decision shall be final and conclusive.
    Subsidiaries and Affiliates of Borrower. To the extent the context of any provisions of this Agreement makes it appropriate, including
    without limitation any representation, warranty or covenant, the word "Borrower• as used in this Agreement shall include all of Borrower's
    subsidiaries and affiliates. Notwithstanding the foregoing however, under no circumstances shall this Agreement be construed to require
    Lender to make any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.
    Successors and Assigns. AH covenants and agreements by or on behalf of Borrower contained In this Agreement or any Related
    Documents shall bind Borrower's successors end assigns and shall inure to the benefit of Lender and its successors and assigns. Borrower
    shall not, however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written
    consent of Lender.
     Survival of Representations and Warranties. Borrower understands and agrees that in making the Loan, Lender is relying on all
     representations, warranties, and covenants made by Borrower in this Agreement or in any certificate or other instrument dellvered by
     Borrower to Lender under this Agreement or the Related Documents. Borrower further agrees that regardless of any Investigation made by
     Lender, all such representations, warranties and covenants will survive the· making of the Loan and delivery to Lender of the Related
     Documents, shall be continuing in nature, and shall re'main in full force and effect until such time as Borrower's Indebtedness shall be paid
     in full, or until this Agreement shall be terminated in the manner provided above, whichever is the last to occur.
     Time ls of the Essence. Time Is of the essence in the performance of this Agreement.
DEFINITIONS. The following capitalized words and terms shall have the following meanings when used In this Agreement. Unless specifically
stated to the contrary, all references' to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
used In the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
otherwise defined In this Agreement shall have the meanings assigned to them in accordance with generally accepted accounting principles as in
effect on the date of this Agreement:                     ·
    Advance. The word "Advance" means a disbursement ofLoan funds. made, or to be made, to Borrower or on Borrower's behalf on a llne
    of credit or multiple advance basis under the terms an·d cohd!tlons of this Agreement.
    Agreement. The word "Agreement" means this Business Loan Agreement, as this Business Loan Agreement may be amended or modified
    from time to time, together with all exhibits and schedules attached to this Business Loan Agreement from time to time.
    Borrower. The word "Borrower" means Group Midland Hotels, LLC; a Texas limited liability company and includes all co-signers and
    co-makers signing the Note and all their successors end assigns.
    Collateral. The word "Collateral" means all property Jlnd assets granted as collateral security for a Loan, whether real or personal property,
    whether granted directly or Indirectly, whether granted now or in the future, and whether granted In the form of a security interest,
    mortgage, collateral mortgage, deed of trust, assignment, pledge, crop pledge, chattel mortgage, collateral chattel mortgage, chattel trust,
    factor's lien, equipment trust, conditional sale, trust receipt, lien, charge, lien or title retention contract, lease or consignment intended as a
    security device, or any other security or lien Interest whatsoever, whether created by law, contract, or otherwise.
    Environmental Laws. The words "Environmental Laws" mean any and all state, federal and local statutes, regulations end ordinances
    relating to the protection of human health or the environment, including without limitation tha Comprehensive Environmental Response,
    Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and
    Reauthorization Act of 1986, Pub. L. No. 99-499 ("SARA"), the Hazclrdous Materials Transportation Act, 49 U.S.C. Section 1801, et seq.,
    the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., or other applicable state or federal laws, rules, or
    regulations adopted pursuant thereto.         · ·             ·    '          .
    ERISA. The word "ERISA • means the Employee' Reti~ement ln:come Security Act of 1974, as amended from time to time, and including all
    regulations and published interpretations of the act.       ·
    Event of Default. The words "Event of Default" mean individually, collectively, end interchangeably any of the events of default set forth in
    this Agreement in the default section of this Agreement.
    GAAP. The word "GAAP" means generally accepted accounting principles.
    Granter. The word "Granter" means each and all of the persons or entities granting a Security Interest in any Collateral for the Loan,
    including without limitation all Borrowers granting such a Security Interest.
    Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Loan, and, in each case,
    Borrower's successors, assigns, heirs, personal representatives, executors and administrators of any guarantor, surety, or accommodation
    party.
    Guaranty. The word "Guaranty" means the guaranty. from Guarantor to Lender, including without limitation a guaranty of all or part of the
    Note.
    Hazardous Substances. The words "Hazardous Substances" mean· materials that, because of their quantity, concentration or physical,
    chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
    improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
    Substances• are used in their very broadest sense and lnciuc;fe without limitation any and all hazardous or toxic substances, materials or
    waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without llmitation, petroleum
    and petroleum by-products or any fraction thereof and asbestos.


                                                          EXHIBIT A-1
                                                                                                                          App. 012
                                                                                                  (/'
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                                                    bJSINESS LOAN AGREEMEN\
Loan No: 62-700159-22                                       (Continued}                                                                      Page 8

      Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
      interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
      of the Related Documents.
      Lender. The word "Lender" means Pacific Premier Bank, its successors and assigns.
      Loan. The word "Loan" means any and all loans and financial accommodations from Lender to Borrower whether now or hereafter
      existing, and however evidenced, including without limitation those ·loans and financial accommodations described herein or described on
      any exhibit or schedule attached to this Agreement from time to time, and further including any and all subsequent amendments, additions,
      substitutions, renewals and refinancings of any of Borrower's Loans. ·
                                                                          1
      Note. The word "Note• means the Note datec! December ,3, 20 12 and executed by Group Midland Hotels, LLC, a Texas limited liability
      company in the principal amount of $2,440,000.00, together with ell renewals of, extensions of, modifications of, refinancings of,
      consolidations of, and substitutions for the note or credit agreement.
      Re!afed Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
      agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
      agreements and documents, whether now or hereafter existing, executed In connection with the Loan.
      Security Agreement. The words "Security Agreement" mean and include without limitation any agreements, promises, covenants,
      arrangements, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or
      creating a Security Interest.
      Security Interest. The words "Security Interest" mean, individually, collectively, and interchangeably, without limitation, any and all types
      of collateral security, present and future, whether In the form of a lien, charge, encumbrance, mortgage, deed of trust, security deed,
      assignment, pledge, crop pledge, chattel mortgage, collatefal chattel mortgage, chattel trust, factor's lien, equipment trust, conditional sale,
      trust receipt, lien or title retention contract, lease or consignment intended as a security device, or any other security or lien Interest
      whatsoever whether created by law, contract, or otherwise.
BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF. THIS BUSINESS LOAN AGREEMENT AND BORROWER AGREES TO
ITS TERMS. THIS BUSINESS LOAN AGREEMENT IS DATED DECEMBER 3, 2012.

BORROWER:



GROUP MIDLAND HOTELS, LLC, A TEXAS LIMITED LIABILITY COMPANY

By:   Ch .e.J_VLlL       · (ri..f(-'VL
      Chetna Hlra, Managing Member of Group Midland
      Hotels, LLC, a Texas limited liability company

LENDER:




                                                           EXHIBIT A-1
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                !
                                                                                               .U.S. Small Business Administr~tion··

            /                                                                                                      NOTE
        I
    I
I
                    SBA Loan#                         56039~5006



                    SBA Loan Name .                   Travelodge
                                                                                               ·(Dated)
                    Dale                              -December 3, 2012


                    Loan .Amount                      $2,440,000,00


                    Interest Rate                     V!irlabte                                                            e            ·"
                                                                                                                          be a true and correct copy oftb.e
                                                                                                                                               ..
                     Borrower .                        Group Midland Hotels, ~c. a Texas Jlmlted liability company


                    . OperaHng Company                 NIA


                     Le11der                           PacJHc-PremJer Bank '.


                    1. PROMISE TO PAY:
                    !n retum ro.r Iha ~ar't, Borrowe"r promises to P.aY lo the order of LenderUie amount of Two Million Four Hundred Forty·Thousand and Oui1DO Dolfars
                    ($2,MD,OOO,D.O), Interest ol) !he unpaid prlnclpa! bal~nce. and all othei: amounts required bY. this Nole.                                                    ·
                    2. DEFINITIONS:-                                                                .        .         . .         .
                    "Collatef"!lr means· any property taken as security for payment of this Note or. any guarantee of this Nole.
                    "Guaran!i;ir"means each person or enllly !hat signs a guarantee of payment Of this Note. .
                    ploanQ meaml the Joan evidenced by !his Note.                                     .
                    uLoan Documents" means the doouments .related lo lhls loan signed by Borrower, any .Guarantor, or anyone who pledges colla!era,1.
                    ·~BA"·means ll)e.Small B~sfness Administration, an Agency .of the United Sta~s of Amer!Cti.                                                 ·
                    3. PAYMENTTE~S:
                          Borrower must make an payments at the place Lender designates. The payment terms ror this Note are:                    .
                         Tue lntemst rate on ~Is Note Wiii flµCtua!e. The l(lltlal fnlerast rate Is ~.00% per year. This lnltlal rate Is the Prime Rate In effect oil the first business
                         da'J oflhe (JlOnth ln Which ~BA received the loan application, plus 2.75%; The Initial Interest rate must-remain In effect until t.he llrst change period
                          tiegJns unless reiiuced In agcordan~ wllh f>?P .-® 1O. . •           ,      ·        _          .                      _                           ·.      . .
                         Borrower. must pay pr1nclpal and Interest payro1mts of $15:,72~.3(! every month beginning b.vQ months from ihe month of ln!Ual dlsbursement on this
                          Note; payments must be made on the Hrot calendar day'fn the months"they are due.                                .
                          Lender wm apply each Installment payment f!l<lt lo pay Jnte"fest accrued to the day Lender receives th~ payment, then to bring prlncfpal cum.n~ then to
                          pay a!lY late fe?s, and will apply any remaining balance to reduce ptlnclpal.             .                                                                 ·
                         The Interest rate wlll be adjusted monthly (the "Change period"}.
                          The "P-rlme Rate» Is the Prime Rate In affeot on the fll'Stbl.lslness day of tile month {as publ!shed In the Wa!l Street Journal newspaper) ln Which SBA
                          received the app!Jca!!on, or any lnte~est rate i*Jange occurs. Base Rates will be rounded to two decimal places with .004 being rounded down and .005 ·
                         being rounded up.        ·
                          Tue adJustedinterest rate wnt be 2,75% above the erlme Rate. LenderWUJ"adjust !he-Interest rate on the flrat calendar day of each change ~r!od. 'The
                         "change In Interest rate ls effecllve-on that day whether or not Lender gives Borrower notice of the change.                                              .
                          'The spread a~ Identified In the Nole· may not be changed ~ur!11g I.he fife of !he loan without the written agreement of the Borrower.
                           For vai:table rate loans, the·lnterest ra ta adjustment perlod.ma'y l)ot be changed wlthout the written .consent of  theBorrower.
                           Lender must adJust the payment amount at lel!st annually as needed to amorttze princlpal over the remaining tem1 or Iha note.
                           IfSBA pµrc!Jases the guaranteeii portion of the u11pald _pnnclpal paJ~nc~, the_ Interest rate becomes fJXed at lhe rate In effe~t at th~ time of the ear!Jes!
                           uncured payl!Jent default; If there ls.no uncured payment default, th!' rate becom~s nxe~ at_ lhe ~te In effect at the time of purohase,                      .
                           Loan Prepayment:                          ·
                            NolWlthstandlng any provjs)on ln tt:irs Note to the cont~iy:·                                                                       .
                                       Borrower may prepay thJs Note. B.orrowermay prepay 20 percent or Jess o( !he unpaid p~nclpa[ balanoe,at any ttme Without notice. If
                                       Borrower prepays. more tha.n. 20 percent an~ the Loai:i has. been sold on "the secondary market, Borrowe~ must:

                     SBA Ftttm 147 (.ll611l3/02) Vmio1r4.l
                                                                                                                                                  INITIAL                        P•gii l/J
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                                                                                                            Page
                           a. Gfve LenderwriUen noilce:
                           f>: Pay all a~ed interest; and
                            c. If the -prepayment Is received less than 21. days.from.the da.le Lender receives the nol!ce, pay an amount equal to.21 days' Interest
                               fro.m the date lender recelv~s the no!lce, Jess any lnt!ln:st aci:rued during the 21 days and paid u_nder ~µbparagraph b_., above,
                         If. Borrower does not prepay within 30 days from the date Lender receives the noHce, Borrower must g!Ve Lender a Qew nollce.
                               .           .   .                           .                     .                                 .    ,.

                      ' sub~ldy Recoupment Fee, When In ~ny one of !l)e first three years from the date of lnltfal disbursement Bo!Tower\f!'lUntarlly .P.r~pays
                        more- than 25% or the outst~ndlng prlnC!pal palance of t~e loan, Borrower must pay to Lender-on behalf or SBA.a prepayment fee for that
I                       yeafas follows:                        :                 .;    '                     ·
                            a. During the fl~t yearalt~rttie dale- ~f.lnl~al dlsbl!f~nienl, 5% ofth,a Iota I prepayment amount;
                            b. During the seyond year after the data of.Initial disbursement, 3% of lhe total prepayment amount; and
                            c. During the third year after tfle date of ln!Hal dl~ursem·enl,
                                                                    0



                                                   .                                      . hr,of the total prepayment amount.
            All.remaining principal and.accrued Interest ls due and payable "26 y~rs from ciate of Initial disbursement.
                                                                                                                              pf
            late Charge: !fa payment on this Note Is more than 10 days late·, LeOdermaycharge ~orrowera lale fee up to G.00% of the unpald portion oflhe
            r~gularly scheduled payment.                               · .                          .    .    •
      4•. DEFAULT: · Borrower is fn default under this Note If Borrower does not make a payment when due under this Note, or ff B0rrower or Operating
    - Company: · · - - •                                                · - ·· · · - · ·     ·          ··         · · ·· ·· - · ··
            A. Falls to do anything required by this Note and otherloan Documents;.
            a·. Defaults on any other loan with Lender, ·                            .
            c. qoes n_ot preserve, or account to ~endeJ's satfsfactfqn ro'r. ElflY of tpe 9oif?teral or Its proceeds;
             D. Dbes not dlscf?se, or anyone acting on their behalf does no.t disclose, any matet!aJ fact to lender or SBA;
             E. Makes, or anyone actlog on their behalf·makes, a materially ~Isa or 11.1ls!eadlng represeniaHon to Lender or SBA;
             F. Defaults on any loan or agreement with anoiher creditor, If Lender believes the default may materla!ly affect Borrower:s ability to pay lhls Nole;
             G. Falls to pay any ta ices w_hen due           ;                                        ·                •.           .            ·
             H. Becomes the subject ofa proceeding under any bankruptcy or Insolvency law;
             J. Has a raceIver or liquidator apj,olnted ror any part of-their business or property;
             J. Makes an assignment for the benefit of creditors;                  .
           . 1$. ·Has.~IOY tidverse c~ange )nJJnanclal con~ltlon or buslness.ope,raHol) lhat Lemler believes may materlally affect B9rrqwe({l ablllty to pay this Note;
             L. Reorganizes, merges, oons0lldafes, or otherwise changes ownership or business stnJcture wilhout Lender's prlorwrHten consent; or
             M. Becomes the Subject of a civil or crlmfn~I action that Lender believes may materially affect Borrower's ablfity to.pay this Nole.
      5. LENDER'S Rl_GHTS IF THERE JS A DEFAULT: \AAfhout 11oflce or deman~ and V(lthout giving up any of Its rights, Lender may:
             A. R~quJre.lmmedlaia payment of ell amounts owing under.this Not(!; · • ·                                          •                 · ·
          · a. collect al1.amount9owlng from any Borrower or Guarantor; · ·.
             c. F·1iii suit and obtain jui.lgment; •        · · ·
             D. Take ~ssessron oJ any Collaterat, or           . · .• ;                                    .
             E. S~ll; Jea&i, or othelWlse df!ipos~ of, any Colfateral at;publlef or private ~e, with or.without adVertlsement.
      6, LENDER:s GENERAL P~~s: .Wlthout nollce and without Bprrower's consen~ Lander may:
             A. Bid on.or QUY the Collataral at Its sale oi" the saJe of another Jlanht1lder, af ariy price.It chooses;
             }'3°. Incur expenses to collect amounts due under this Note; enfo~ the"term·s ofthls Nola ·or any otjler Loan Doc.uinent, and preserve ordl\lpose of
             the Collataral. Among other things, the ~penses may lnCl!Jde payments for property taxas, prior llens, lnsurarioe, appraisals, environmental
             remadlatlon costs, and.reasonable attorney's fees and·costs. If Lender Incurs such expenses, Ii mey demand lmmedlahnepayment from Borrower or
             add the expenses lo !he pllnclpal balance; ·        ·                                                        :                  ·
             c. R.eleasa anyone obl!galed to pay !his Note;
             D. Compromise, reJea~, renew, extend or substitute al'ly _of the Collafel'i:JI; and
             E. TaRe any aotlon necessary to protect fife Col!a~eral or cpflect amouniS o~lng Of'! this Note. .
      7. WHEN FEDERAL LAW APPLIES: · V\lhen SBA is 1116 holder, this Nota vylllbe Interpreted and enforced under federal law;lncludlng SBA regula!lons.
      Lender or SBA may.use state orlooal v.rocedures for filing paper:S, reeoidfng documents; giving notice, foreclosing nen·s, and olharpurposes. By using such
      procedu(es, SBA does not \'.lalve al)y federal Jmm1;1nity from state or local control, panalty, tax, or liability. As lo this Ni;ite, Bortowar may not claim or assert
                                                                                        or
      against SBA any local or stale law to deny any obHgallon, defeat any clalm SBA, or preempt federal law.                                                      .
      8. SUCCESSORS AND AssieNs: Under .this Nole, Boni>wer and OperallnQ Company Jnolude the successors of eacli, and lender lneludes Its
       sUccessors and assigns. .           ·                                                                                                           ·
      S. GENERAL PROVISIONS:
              A. All Individuals and antltl~~ slgnl119 lhls Note are Jointly an_cl severally Uable.
              B. Borrowerwalve's aU suretyshlp defenses.                               ,       .
              c. Borrower must sign an documents nec~~ry at any time to ~omP.ly -Wllh ihe Loan Document_s ~nd to ~nable Lender to a~Ufre, perfect. or
              maintain· Lender's !lens on Collateral. ·                                  .      .                    ·                                           .
              o. Lender jnay.exerolsa any oflts rights separately of!ogether, as many Umesand In any o.rclerit chooses. Le!idet may d_elay ?rforgo enforcing any
              oflts rights wltflout giving up any oftham. .           . '       ·          '      ·                                                .·
              E.. Borrower inay nol µse an oral.state~ent o~ Lel\der or SBA !o con!~dlct oraJter the written terms of this Note.
              F. If any part oflhls Nobl"!s unenforceable, all o1_h~r·pa~ re1paln,fn. effect.              ·                      .                         .
              G. To the extent allowed by raw, Borrowerwalvesall denlandsalid notlces In connec!ion with this Note, Including presentment, demand, protest, and
              no!lce of -dishonor. ·Borroiiver also waives any defenses .P.asad upon any claim lhat Lender did not obtain-any gl}ai:antee; did not obtain, perfect, or
              maintain a Hen up.on. CoUatend; Impaired Collateral; Qr did not: optaln. the fair ma.rlrel.valµe of Collateral al a sale.
       10; STATE..SPEelFIC PROVISIONS:

      SllA Fann 147 (WO:JM) Ve¢on 4.1
                                                                                                                                       INITIAL
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                                                                                                Page
                 J
            J
                I.   NONE
        /
         1.1. SORROWER'S N'AME(S) AND SIGNATURE(S):
        ·By signing below, each individual or entity becomes·obllgated under this Note as Borrower.
            BORROWER!
            Group Mfdland Hote!s1 U.C, a Texas limited lia}?llity co_mpany
    i
I
            By        C>t $?.}--~ q__                    fd   riLJ-l-
                     ch·etna·Hira,~naging Mernbe OrhlOup Midland
                     Hotels, LLC, a Te~µs 1If!1ited liability company




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                                                                     U.S. Small Business Administration
                                                                U·NCONDJTIONAL GUARANTEE

Sl;:IALoan#             5603915006


SBA Loan Name           Travelodge

Guarantor               Chetna Hlra

Borrower                Group Midland Hotels, LLC, a Texas llr:r'lf:ed liability company


 L.ender               . Pacific Premier Bank

Date                    12-03-2012


 Note Am.o.unt          $2,440",000.00


1. GUARANTEE:
Guarantor uncondltio11atly guarantee~ payment to Lankier of all amounts. owing und~r the Note, This Guarantee remains in effect until the
Note Is paid.lo full. Guarantor must pay all amo.unts due under·llie Note when Lender makes written demahd upon Guarantor. Lender is
not required to seek payment from an)( other sourc13 be{ore ~emandlng payment from Guarantor.                                ·      ·
2. NOTE:                                                      \
Th~ ''.Note~ is the proml~sol)' note dated 12-03-2012 In the Prtnclpal amount of Two Miiiion Four 11undred Forty Thousand and 00/100
Dollars ($2,440,000.00}, ~om Borr<?Wer to Lender. It includes any assumption, renewal, substitution, or replacement of the Note, and
 multiple notes under a line of creait.                                                      ·
3. DEFINITIONS:
i•collater~I" means any property taken as security for ·payment of th? Note or any guarantee of the Note.
"Loan" means the loan evidenced by the Note.
"Loan Documents" means the documents related to the Loan signed by Borrower, Guarantor or any other guarantcir, or anyone v.tlo
pledges Coll~teral.                                                .' .        :               .    .                     ·
"SBA" means the small Business Administration, an A9ency.ofithe United.States of America.
4. Ll;!\IOl;R'S GENERAL POWERS:
Lender may take any of the·foRowing .actlons at any tio:ie, withoufnotic'e,:without ·Guarantor's consent, and Wlthoutrnaldng demand upen
Guarantor.             ·                             ·           ·                                                  ·                     ·
         A. Mocflfy the terms of the Note or any other Loan Document except to Increase .the amounts due uncler the Note;
         8. Refrain from taking ariy action on the Note, the Collateral, or any guarantee;                                   ·
         C: Release any Borrower or any. guarantor of the Note;
         D. Compromise or settle with the Borrower or any guarantor of the Note;
         E. Substitute.or release any of the Collateral, Whether cir not Lend~r receives anything In return;
          F. Foreclos~ upon or otherwise obtain, and d!spose Of, any Collateral at public or" private sale, with or without advertisement;
         G. Bid or buy at any sale of Collateral by. Le!l<!ler
                                                        •.   •
                                                                or any
                                                                     •
                                                                       other
                                                                       • lo.
                                                                             lienholder,
                                                                                 .
                                                                                         at any price
                                                                                                  •
                                                                                                      Lender.ch~qses;
                                                                                                               •
                                                                                                                       and • ·          ·
         H. Exercise any ~igl:lts It.has, including·tho;>e in the Note aqd other. L:oan Documen~.                     .
Tliese actlona will not release or reduce the'obiigations,_of Guarantor or createiany rights or claims against Lender.
5. FEDERAL LAW:                                                     .
When SBA Is the holder, the Note.and this GuaranteEi wlll be construed ~n·d·enforced under federal law, including SBA regulati.o.ns.
Lender or SBA may use·.state or loc;al procedures for filing papers; recording qocuments, giving notice, ·foreclosing liens, and ·other
purpf?ses. By using sµch procedures·, SBA does not wajve any federal immunity froni state or local contrc:il, penalty, tax, or llabillty. AA to
this Guarantee" Guarantor may not claii:n er assert any local-or state law against SBA to d~ny any ·obligation, defeat any claim of SBA or
preempt federal law.                           ·                                                                                      ·
                                                                                                          INITIAL                         Pos•l · ·


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                                                        EXHIBIT A-3
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6. ~IGHTS, NOTICES, AND DEFENSES THAT GUARANTOR WAIVES:
To the ext1?nt petm!tted by law,
        A. G~arantor waives all rights to:
             1) Require presentment, protest, or demand upon .Borrower;
             ~) Redeem .any Collateral before or after Lender dlSJ?O~SS of it;
             3) Have any dlsposltion of Collateral advertised;: and           .
             4) Require a valuation of Collawral before or after lender disposes of it
        B. Gl.larant~rwalves any notice of: .
             1) AnY. aefault under the ~ote; :
             2) Presen~ment, dishonor, protest, or demand;
             3) Exeeutfo~ of the Note;                  ·                                                   .
             4)· My action .Cir inaction on the Note or Collateral, such as disbursements, payment, nonpayment, acceleration, Intent to
                 accelerate, assignment, colle~tion activity, and Incurring enforcement expenses;         · ·                            ·
             5) Any change·ln the financial condition or busfness operations of Borrower or any guara.ntor;
             6) My cbanges.
                               In the terms of fue Note or other Loan
                                               i . . .           .
                                                                      IDoci:iments,
                                                                              .
                                                                                    except Increases In the amounts due under the Note; and
             7) The time or place of any salf? or oth~r disposition of Collateral, •
                                              l         .    ;
        C. Guarantor waives defenses ba.sE'.d upon any ,claim that
               1} Lender failed to obtain any duarantee; ..
              ·2) Lender failed to obtain, j:ierf~cl, or maintain a security Interest In any property offered or taken as Collateral;
               3) lender or others Improperly yalued or Inspected the Collateral;·
               ll) The ~ollatera! changed in v~{ue, or was neglected, los~ de?troyed, or underinsured;
               5) Lender Impaired the Collate~al;
               6).Lender did not dispose of any of the Collateral;             .
               7.) tender did not cqnduct a commerclaily reasonaple sale;
               8} ~ender d!d not obtain Uie fair marl<et value of the- Collateral;                                 .
               9) Lender did not make or ~ertect a claim upon the death or. d~sablllty of Borrower or any guarantor of the Note;
             1O). The financial c.ondttlon of Borrower or any guarantor was overstated or h<!Js adversely changed;               ·
            -11) LeTJder made errors or omissions in· Loan Documents or administration of the Loan;
             12) lender. did not se·ek payment from the Borrower, any other guarantors, or any eOl!ateral before demanding payment from
                ~~·                                                                                                .
          13} Lender Impaired Guarantor's suretyshlp rights;
         .14} Lender modified the Note terms, otlier than to increase amounts due under the Note. If Lende~ mo~ifies .the Note to
              increase the amounts due under the No'te without Guarantor's consent, GuarantQr will not be liable for the·lncreased.
              amo.unts and !elated lnterest·and expenses, but remains liable for all other amounts;              ·
          1~) Borrow~r has avoided llablllty on the Note; or    · 1. •                        •

          16f Lender has taken ~n actlol) ~lloy.re~ under        the
                                                             Notei this.Guarantee, pr othe~ Loan !Jocuments.
7. DUTIES AS TO COLI,..ATERAL:             ,.     , . ·:     .:              '
Guarantor wlll preserve the Collateral pledged by Guarantor to secure this Guarantee. Lender has no duty to pr.ese.rve or dispose: of any
Collateral.
8. SUCCESSO~S AND ASSIGNS:                            .             .
Under this Guarantee, Guarantor includes heirs ancj successors, and Lender Includes Its successors and assigns.
9. G.ENERAL PROVISIONS: .                                                         .
        A. !=NF9RCEMENT EXPENSES. Guarantor promfses to pay all expense~ lender incurs to enforce this ·Guarantee, Including,
            but not limited to,. attoml?y's fees and costs.        ··                           ·                                 ..
        B. SBA NOT A CO-GUARANTOR. Guarantor's llablllty will' continue even If SBA pays Lender. SBA Is not a co-guarantor wlth
            Guarantor. Guarantor has no right of contribution from SBA:
        P. SUBR~A110N RIGHTS. Guarantor has no subrog.atlon rights as to tJ:ie Note or the Collateral until the Note Is paid In full.
        D. JblNT AND SEVERAL UABIUlY. All Individuals and entlti'es signing as Guf,lrantor are Jointly and severally Hable.
      : E. DOCUMENT SIGNINQ. Guarantor must sign all documents necessary at any time to comply with' the Loan Documents and to
            enabl~ Le1,1der to ·aqqulre, perfect or maintalti Lender's liens on. Collateral.
        F.. FINANCIAL STATEMENTS. Guarantor muSt giye Lender financial statements ·as Lender requires.                          .
        G. LENDE~'S RIGMTS CUM ULAllVE, NOT WAlV!=D. Lender may exercise any of I.ts rights separately or together, a~ many
            times as. It chooses..Lender may delay or forgo enforcing any of its rights withouflosing or lmjJahlns any of them.
        K                                                              .
                                                                                                       INITIAL                         Pogo2
                                                                                                       ...£.:h.:

                                                            EXHIBIT A-3
                                                                                                                   App. 018
                                                      /                                            l
      Case 3:17-cv-00312-B Document 19 Filed 05/24/17 !                                      Page 21 of 49 PageID 162
                                                                                                   \.

     ORAL $TATEMENTS NOT BINQiN<.1.                 Gtia1ahtor may not use an oral statement to.contradict~. _,jlter·the written terms of the Not~ or
     fhls Guarar:itee, or.to raise a defense to this Gljarantee.  .                                           ·.        ·
           I. SEVERASIL!TY. If any part of this Guarantee is found !,O .be uneoforcaable, all other parts Will remain in effect
          J, CONSI DERAl!ON. The conslderatl.on for this GuarantEle Is the ~oan·or· any accommodation by Lender as to the Loan.
10. STATE-SPECIFIC PROVISIONS:
        NONE
11. GUARANTOR ACKNOWLEDGMENT OF TERMS.·
Guarantor acknowledgesJhat Guarantor has read and unde~tands the· significance of all terms of the Note and this Guarantee, Including
allwcilvers. ·                              ·                                                                                  ··
12. GUARANTOR NAME(S) AND SIGNATURE(S):.
By signing belo)N, each Individual or entity becomes obligated as Guarantor under this Guarantee.

GUARANTOR:                                                          !' ..
x    c-1n em q
  Chetna Hlra, lndlvfd1,1ally
                                  n    r[ll-<   ·                               .   ;




SBA F<nm 148 (IMS) l'reviournll!lons ob$olete




                                                              EXHIBIT A-3
                                                                                                                            App. 019
Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                                Page 22 of 49 PageID 163




                                                                                                          Pacific Premier Bank
                                                                                                          17901 Von Karman Ave.
                                                                                                          Suite 1200
                                                                                                          Irvine, CA 92614
                                                                                                          949-864-8000


 April 13, 2015

 Chetna Hira
 Group Midland Hotels
 4724 Byron Circle
 Irving, TX 75038-631824

 Loan Number: 6270015922
 Property:    2500 Commerce Dr., Midland, TX
              UCC-1 All Business Assets

                                             NOTICE OF INTENT TO FORECLOSE
 Dear Group Midland Hotels:

 Our records indicate that the referenced loan is in default and that the amount of principal, interest escrow,
 and late charges in delinquency is $15,881.42. as of the date of this letter. After today, there may be
 additional costs for a property inspection, additional payments, or any other charges that become due. Due
 to the delinquency, we require certified funds by overnight mail or delivery to a Pacific Premier Bank branch.
 In either case, the Collection Department, at (949) 864-8547 or toll-free at (800) 448-2265 must be notified
 on the date the default is cured or foreclosure fees may be charged to your loan due to the initiation of
 foreclosure. You may also call us at the toll free number to discuss foreclosure alternative options.

 If the delinquency is not cured by April 23, 2015, the entire outstanding balance of your loan may become
 immediately due and payable, and Pacific Premier Bank may pursue its rights and remedies under the loan
 documents, including, without limitation, proceeding with judicial or non-judicial foreclosure, obtaining the
 appointment of a receiver, and collecting fees for legal and trustee's expenses, and, after the legal waiting
 period of at least 3 months, proceeding with sale of property under the Deed of Trust securing the
 referenced loan. You have the right to reinstate after this notice up to the sale date; and the right to bring a
 court action or assert in the foreclosure proceedings the non-existence of a default or any other defense you
 may have to the acceleration and foreclosure. Reinstatement will not be permitted after sale of the property
 is held.

 Please be advised that, pursuant to the Deed of Trust, if this is an Investment Property, your license to
 collect the rents generated by the property is hereby revoked, and demand is hereby made that you provide
 Pacific Premier Bank with copies of the current rent rolls and leases affecting the property and all operating
 statements generated for the property since the date of default.

 Notwithstanding the foregoing, Pacific Premier Bank hereby reserves all of it rights and remedies under the
 documents evidencing or securing the loan or executed in connection therewith. Nothing contained herein
 shall be deemed to modify or waive any term or provision of said documents nor alters or curtails in any way
 Pacific Premier Banks' abilities to pursue its remedies there under.



 Tam      adsen
 AVP/Loss Mitigation
 949-864-8547

                                  NOTICE UNDER FAIR DEBT COLLECTION PRACTICES ACT

 This is an attempt to collect a debt and any information obtained will be used for that purpose. Unless within thirty days after receipt
 you dispute this debt, or a portion of it, the debt will be assumed by us to be valid. If you notify us in writing within thirty days that
 you dispute this debt or a portion of it, or that you request the name and address of the original creditor if different from the current
 creditor, we will obtain verification and provide you with a copy of the information.
 You may qualify for homeownership counseling through the department of Housing and Urban Development (HUD). Please contact
 HUD at (800) 569-4287 which will provide a list of HUD-approved nonprofit counseling organizations that serve your area, or via the
 web at www.hud.gov/offices/hsg/sfh/hcc/hccprofl4.cfm


                                                         EXHIBIT A-4
                                                                                                                               App. 020
Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                                Page 23 of 49 PageID 164




                                                                                                          Pacific Premier Bank
                                                                                                          17901 Von Karman Ave.
                                                                                                          Suite 1200
                                                                                                          Irvine, CA 92614
                                                                                                          949-864-8000


 April 13, 2015

 Group Midland Hotels
 2500 Commerce Dr.
 Midland, TX 79703-755100

 Loan Number: 6270015922
 Property:    2500 Commerce Dr., Midland, TX
              UCC-1 All Business Assets

                                             NOTICE OF INTENT TO FORECLOSE
 Dear Group Midland Hotels:

 Our records indicate that the referenced loan is in default and that the amount of principal, interest escrow, .
 and late charges in delinquency is $15,881.42, as of the date of this letter. After today, there may be
 additional costs for a property inspection, additional payments, or any other charges that become due. Due
 to the delinquency, we require certified funds by overnight mail or delivery to a Pacific Premier Bank branch.
 In either case, the Collection Department, at (949) 864-8547 or toll-free at (800) 448-2265 must be notified
 on the date the default is cured or foreclosure fees may be charged to your loan due to the initiation of
 foreclosure. You may also call us at the toll free number to discuss foreclosure alternative options.

 If the delinquency is not cured by April 23, 2015, the entire outstanding balance of your loan may become
 immediately due and payable, and Pacific Premier Bank may pursue its rights and remedies under the loan
 documents, including, without limitation, proceeding with judicial or non-judicial foreclosure, obtaining the
 appointment of a receiver, and collecting fees for legal and trustee's expenses, and, after the legal waiting
 period of at least 3 months, proceeding with sale of property under the Deed of Trust securing the
 referenced loan. You have the right to reinstate after this notice up to the sale date; and the right to bring a
 court action or assert in the foreclosure proceedings the non-existence of a default or any other defense you
 may have to the acceleration and foreclosure. Reinstatement will not be permitted after sale of the property
 is held.

 Please be advised that, pursuant to the Deed of Trust, if this is an Investment Property, your license to
 collect the rents generated by the property is hereby revoked, and demand is hereby made that you provide
 Pacific Premier Bank with copies of the current rent rolls and leases affecting the property and all operating
 statements generated for the property since the date of default.

 Notwithstanding the foregoing, Pacific Premier Bank hereby reserves all of it rights and remedies under the
 documents evidencing or securing the loan or executed in connection therewith. Nothing contained herein
 shall be deemed to modify or waive any term or provision of said documents nor alters or curtails in any way
 Pacific Premier Banks' abilities to pursue its remedies there under.

 Sincerely,

 ~
 Tammy Madsen
 AVP/Loss Mitigation
 949-864-8547

                                  NOTICE UNDER FAIR DEBT COLLECTION PRACTICES ACT

 This is an attempt to collect a debt and any infonnation obtained will be used for that purpose. Unless within thirty days after receipt
 you dispute this debt, or a portion of it, the debt will be assumed by us to be valid. If you notify us in writing within thirty days that
 you dispute this debt or a portion of it, or that you request the name and address of the original creditor if different from the current
 creditor, we will obtain verification and provide you with a copy of the infonnation.
 You may qualify for homeownership counseling through the department of Housing and Urban Development (HUD). Please contact
 HUD at (800) 569-4287 which will provide a list of HUD-approved nonprofit counseling organizations that serve your area, or via the
 web at www.hud.gov/offices/hsg/sfh/hcc/hccprofl4.cfm


                                                         EXHIBIT A-4
                                                                                                                               App. 021
                                       0
Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                                Page 24 of 49 PageID 165



                                                                                                          Pacific Premier Bank
                                                                                                          17901 Von Karman Ave.
                                                                                                          Suite 1200
                                                                                                          Irvine, CA 92614
                                                LJ FIL                                                    949-864-8000


 January 20, 2016

Chetna Hira
Group Midland Hotels
4 724 Byron Circle
Irving, TX 75038-631824

Loan Number: 6270015922
Property:    2500 Commerce Dr., Midland, TX
             UCC-1 All Business Assets

                                             NOTICE OF INTENT TO FORECLOSE
Dear Group Midland Hotels:

Our records indicate that the referenc~d loan is in default and that the amount of principal, interest escrow,
and late charges in delinquency is $16,255.81, as of the date of this letter. After today, there may be
additional costs for a property inspection, additional payments, or any other charges that become due. Due
to the delinquency, we require certified funds by overnight mail or delivery to a Pacific Premier Bank branch.
In either case, the Collection Department, at (949) 864-8547 or toll-free at (800) 448-2265 must be notified
on the date the default is cured or foreclosure fees may be charged to your loan due to the initiation of
foreclosure. You may also call us at the toll free number to discuss foreclosure alternative options.

If the delinquency is not cured by January 30, 2016, the entire outstanding balance of your loan may
become immediately due and payable, and Pacific Premier Bank may pursue its rights and remedies under
the loan documents, including, without limitation, proceeding with judicial or non-judicial foreclosure,
obtaining the appointment of a receiver, and collecting fees for legal and trustee's expenses, and, after the
legal waiting period of at least 3 months, proceeding with sale of property under the Deed of Trust securing
the referenced loan. You have the right to reinstate after this notice up to the sale date; and the right to
bring a court action or assert in the foreclosure proceedings the non-existence of a default or any other
defense you may have to the acceleration and foreclosure. Reinstatement will not be permitted after sale of
the property is held.
                  '
Please be advised that, pursuant to the Deed of Trust, if this is an Investment Property, your license to
collect the rents generated by the property is hereby revoked, and demand is hereby made that you provide
Pacific Premier Bank with copies of the current rent rolls and leases affecting the property and all operating
statements generated for the property since the date of default.

Notwithstanding the foregoing, Pacific Premier Bank hereby.reserves all of it rights and remedies under the
documents evidencing or securing the loan or executed in connection therewith. Nothing contained herein
shall be deemed to modify or waive any term or provision of said documents nor alters or curtails in any way
Pacific Preniier Banks' abilities to pursue its remedies there under.

Sincerely,
    ~
Tammy Madsen
AVP/Loss Mitigation
949-864-8547

                                  NOTICE UNDER FAIR DEBT COLLECTION PRACTICES ACT

This is an attempt to collect a debt and any information obtained will be used for that purpose. Unless within thirty days after rece ipt
you dispute this debt, or a portion of it, the debt will be assumed by us to be val id. lfyou notify us in writing within thirty days that
you dispute this debt or a portion of it, or that you request the name and address of the original creditor if different from the current
creditor, we will obtain verification and provide you with a copy of the information.

You may qualify for homeownership counseling through the department of Housing and Urban Development (HUD). Please contact
HUD at (800) 569-4287 which will provide a list of HUD-approved nonprofit counseling organizations that serve your area, or via the
web at www.hud.gov/ofliccs/hsg/sfl1/hcc/hccprof14.cfin


                                                          EXHIBIT A-4
                                                                                                                                App. 022
 Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                            Page 25 of 49 PageID 166
                                     0                                                                OMB Approval 2502-0584
Servicemembers Civil Relief                   U.S. Department of Housing
Act Notice Disclosure                            and Urban Development                                             Exp 12/31/17
                                                    Office of Housing

Legal Rights and Protections Under the SCRA

Servicemembers on "active duty" or "active service," or a spouse or dependent of such a servicemember may be entitled to
certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC App. §§ 50 l-597b)
(SCRA).

Who May Be Entitled to Legal Protections U oder the SCRA?
    •    Regular members of the U.S. Armed Forces (Army, Navy, Air Force, Marine Corps and Coast
         Guard).
    •    Reserve and National Guard personnel who have been activated and are on Federal active duty
    •    National Guard personnel under a call or order to active duty for more than 30 consecutive days under
         section 502(f) of title 32, United States Code, for purposes ofresponding to a national emergency
         declared by the President and supported by Federal funds
    •    Active service members of the commissioned corps of the Public Health Service and the National
         Oceanic and Atmospheric Administration.
    •    Certain United States citizens serving with the armed forces of a nation with which the United States
         is allied in the prosecution of a war or military action .

What Legal Protections Are Servicemembers Entitled To Under the SCRA?
    •    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to
         entering military service shall not bear interest at a rate above 6 % during the period of military service and one
         year thereafter, in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature
         ofa mortgage, or during the period of military service in the case of any other obligation or liability.
    •    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
         year after the servicemember' s military service, a court may stop the proceedings for a period of time, or adjust
         the debt. In addition, the sale, foreclosure, or seizure ofreal estate shall not be valid if it occurs during, or
         within one year after the servicemember's military service unless the creditor has obtained a valid court order
         approving the sale, foreclosure, or seizure of the real estate.                                             ·
    •    The SCRA contains many other protections besides those applicable to home loans.

How Does A Servicemember or Dependent Request Relief U oder the SCRA?

    •    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or spouse
         must provide a written request to the lender, together with a copy of the servicemember's military orders to:
         Pacific Premier Bank- 17901 Von Karman Suite 1200, Irvine CA. 92614. Tammy Madsen - 949-864-8547
    •    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a copy
         of a servicemember's military orders to the lender in connection with a foreclosure or other debt enforcement
         action against real estate. Under these circumstances, lenders should inquire about the military status ofa
         person by searching the Department of Defense's Defense Manpower Data Center's website, contacting the
         servicemember, and examining their files· for indicia of military service. Although there is no requirement for
         servicemembers to alert the lender of their military status in these situations, it still is a good idea for the
         servicemember to do so.

How Does a Servicemember or Dependent Obtain Information About the SCRA?

    •    Servicemembers and dependents with questions about the SCRA should contact their unit' s Judge Advocate, or
         their installation's Legal Assistance Officer. A militaty legal assistance office locator for all branches of the
         Armed· Forc~s is available at http://legalassistance.law.af.mil/content/ locator.php
         •    "Military OneSource" is the U. S. Department of Defense's information resource. If you are listed as entitled
              to legal protections under the SCRA (see above), please go to www.rnilitatyonesource.mil/legal or call 1-
              800-342-9647 (toll free from the Uni ted States) to find out more information. Dialing instructions for
              areas outside the United States are provided on the website.



Find this tool and more on Banker Tools on BankersOnline.com
http ://www.bankersonline.com/tools/tools. htrnl                                                                 form HUD-92070
                                                        EXHIBIT A-4                                (12/2014 amended BOL 01/2015)
                                                                                                                           App. 023
/



    Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                                       ('
                                                                                                   Page 26 of 49 PageID 167



                                                                                                              Pacific Premier Bank
                                                                                                              17901 Von Karman Ave.
                                                                                                              Suite 1200
                                                                                                              Irvine, CA 92614
                                                                                                              949-864-8000


      March 17, 2016
                                                    LJ FILE
     Chetna Hira
     Group Midland Hotels
     4724 Byron Circle
     Irving, TX 75038-631824

      Loan Number: 6270015922
      Property:    2500 Commerce Dr., Midland, TX
                   UCC-1 All Business Assets

                                                  NOTICE OF INTENT TO FORECLOSE
      Dear Group Midland Hotels:

     Our records indicate that the referenced loan is in default and that the amount of principal, interest escrow,
     and late charges in delinquency is $17,898.47, as of the date of this letter. After today, there may be
     additional costs for a property inspection, additional payments, or any other charges that become due. Due
     to the delinquency, we require certified funds by overnight mail or delivery to a Pacific Premier Bank branch.
     In either case, the Collection Department, at (949) 864-8547 or toll-free at (800) 448-2265 must be notified
     on the date the default is cured or foreclosure fees may be charged to your loan due to the initiation of
     foreclosure. You may also call us at the toll free number to discuss foreclosure alternative options.

       If the delinquency is not cured by March 27, 2016, the entire outstanding balance of your loan may become
       immediately due and payable, and Pacific Premier Bank may pursue its rights and remedies under the loan
       documents, including, without limitation, proceeding with judicial or non-judicial foreclosure, obtaining the
       appointment of a receiver, and collecting fees for legal and trustee's expenses; and, after the legal waiting
     · period of at least 3 months, proceeding with sale of property under the Deed of Trust securing the
       referenced loan. You have the right to reinstate after this notice up to the sale date; and the right to bring a
       court action or assert in the foreclosure proceedings the non-existence of a default or any other defense you
       may have to the acceleration and foreclosure. Reinstatement will not be permitted after sale of the property
       is held.

     Please be advised that, pursuant to the Deed of Trust, if this is an Investment Property, your license to
     collect the rents generated by the property is hereby revoked, and demand is hereby made that you provide
     Pacific Premier Bank with copies of the current rent rolls and leases affecting the property and all operating
     statements generated for the property since the date of default.

     Notwithstanding the foregoing, Pacific Premier Bank hereby reserves all of it rights and remedies under the
     documents evidencing or securing the loan or executed in connection therewith . Nothing contained herein
     shall be deemed to modify or waive any term or provision of said documents nor alters or curtails in any way
     Pacific Premier Banks' abilities to pursue its remedies there under.



     ~~1.i1 "
            Madsen
     AVP/Loss Mitigation
     949-864-8547

                                       NOTICE UNDER FAIR DEBT COLLECTION PRACTICES ACT

     This is an attempt to collect a debt and any information obtained will be used for that purpose. Unless within thirty days after receipt
     you dispute this cjebt, or a portion of it, the debt will be assumed by us to be valid. Jfyou notify us in writing within thirty days that
                              a
     you dispute this debt or portion of it, or that you request the name and address of the original creditor if different from the current
     creditor, we will obtain verification and provide you with a copy of the information.
     You may qualify for homeownership counseling through the department of Housing and Urban Development (HUD). Please contact
     HUD at (800) 569-4287 which will provide a list of HUD-approved nonprofit counseling organizations that serve your area, or via the
     web at www.hud.gov/offices/hsg/sfl1/hcc/hccprof14.cfin



                                                             EXHIBIT A-4
                                                                                                                                   App. 024
 Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                            Page 27 of 49 PageID 168
                                                                                                      '
Servicemembers Civil Relief                   U.S. Department of Housing                              OMS Approval 2502-0584
Act Notice Disclosure                            and Urban Development                                             Exp 12/31/17
                                                    Office of Housing

Legal Rights and Protections Under the SCRA

Servicemembers on "active duty" or "active service," or a spouse or dependent of such a servicemember may be entitled to
certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC App. §§ 501-597b)
(SCRA).

Who May Be Entitled to Legal Protections Under the SCRA?
    •    Regular members of the U.S. Armed Forces (Army, Navy, Air Force, Marine Corps and Coast
         Guard).
    •    Reserve and National Guard personnel who have been activated and are on Federal active duty
    •    National Guard personnel under a call or order to active duty for more than 30 consecutive days under
         section 502(f) of title 32, United States Code, for purposes ofresponding to a national emergency
         declared by the President and supported by Federal funds
    •    Active service members of the commissioned corps of the Public Health Service and the National
         Oceanic and Atmospheric Administration.
    •    Certain United States citizens serving with the armed forces of a nation with which the United States
         is allied in the prosecution of a war or military action .

What Legal Protections Are Servicemembers Entitled To Under the SCRA?
    •    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to
         entering military service shall not bear interest at a rate above 6 % during the period of military service and one
         year thereafter, in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature
         ofa mortgage, or during the period of military service in the case of any other obligation or liability.
    •    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
         year after the servicemember's military service, a court may stop the proceedings for a period oftime, or adjust
         the debt. In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs during, or
         within one year after the servicemember' s military service unless the creditor has obtained a valid court order
         approving the sale, foreclosure, or seizure of the real estate.
    •    The SCRA contains many other protections besides those applicable to home loans.

How Does A Servicemember or Dependent Request Relief Under the SCRA?

    •    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or spouse
         must provide a written request to the lender, together with a copy of the servicemember's military orders to:
         Pacific Premier Bank- 17901 Von Karman Suite 1200, Irvine CA. 92614. Tammy Madsen - 949-864-8547
    •    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a copy
         of a servicemember's military orders to the lender in connection with a foreclosure or other debt enforcement
         action against real estate. Under these circumstances, lenders should inquire about the military status of a
         person by searching the Department of Defense's Defense Manpower Data Center' s website, contacting the
         servicemember, and examining their files for indicia of military service. Although there is no requirement for
         servicemembers to alert the lender of their military status in these situations, it still is a good idea for the
         servicemember to do so.

How Does a Servicemember or Dependent Obtain Information About the SCRA?

    •    Servicemembers and dependents with questions about the SCRA should contact their unit's Judge Advocate, or
         their installation's Legal Assistance Officer. A milita1y legal assistance office locator for all branches of the
         Armed Forces is available at http://legalassistance.law.af.mil/content/ locator.php
         •    "Military OneSource" is the U. S. Department of Defense's information resource. If you are listed as entitled
              t<.~ l~al ptotections under the SCRA (see above), please go to www.militat)'Onesource.mil/legal or call 1-
              800-342-9647 (toll free from the United States) to find out more information. Dialing instructions for
              areas outside the United States are provided on the website.



Find this tool and more on Banker Tools on BankersOnline.com
http://www.bankersonline.com/tools/tools.html                                                                    form HUD-92070
                                                                                                   (12/2014 amended BOL 01/2015)
                                                        EXHIBIT A-4
                                                                                                                           App. 025
             Case 3:17-cv-00312-B Document 19 Filed 05/24/17                        Page 28 of 49 PageID 169




 May 16, 2016

 Group Midland Hotels, LLC
 c/o Chetna Hira
 2500 Commerce Drive
 Midland, TX 79703

 RE: SBA Loan #6270015922

. Dear Chetna Hira:

  We need the following financial documents immediately. We previously requested these documents in January 2016.

 Group Midland Hotels LLC to Provide:
    • 2013- 2015 Business Tax Returns with all Schedule K-1s
    • 2015 FYE or Interim financial statement
    • 2016 projected statement
    • Proposed payment Plan
 Chetna Hira to Provide:
    • 2015 Personal Financial Statement to be filled out and signed (form attached).
    • 2013, 2014, & 2015 Personal Tax Returns with all Schedule K-1s.

 Under the Business Loan Agreement these documents are to be sent to PPB every year. If you have any questions, contact me at
 (949)~
      52 -7295.

 Be~
     /    //
 ~A~~~
 I
 ~ redit Analyst
. Email:kmcarthur@ppbi.com




                                                        EXHIBIT A-4
                                                                  pb: 949-864-8000                                           www.ppb i.com
                                                                                                                      App.
                                                                                         A PadjiL" l'rw1ier Ba11corp, !11t: Compt111)'026
                                                                                                                                       (Pl'/31)
                   Case 3:17-cv-00312-B Document 19 Filed 05/24/17                           Page 29 of 49 PageID 170




      June 16, 2016

      Group Midland Hotels LLC dba Travelodge
       c/o Miten A. & Dipaliben M Patel
      2500 Commerce Drive
      Midland, TX 79703




      RE: SBA Annual Review #6270015922                                                                                 2nd Request

      Dear Chetna Hira:

      Thank you for banking with Pacific Premier Bank. My name is Steve Park and I am the Portfolio Manager that will be working on your
      SBA Annual Review. Throughout this process, I will be in touch with you to help facilitate the request. This is a follow up Letter to
      remind you to provide the previously requested financial information by Pacific Premier Bank on May 16, 2016.

      Based on the information we have been provided, additional documentation is required. Attached is a preliminary checklist of the items
      needed. Please provide the items listed on the following page, and take into consideration that the earlier we receive the additional
      documentation, the earlier our final analysis can begin. Prompt delivery of these items will enable us to provide you with the best
      possible service and help ensure that your SBA Loan will be reviewed in a timely manner.

      If you have any questions regarding this process please feel free to contact me for assistance.


      Best regards,

      Steve Park
      Steve Park
      VP / Portfolio Manager
      Office: (949) 864-8034
      Fax:     (714) 433-3081
      Email: spark@ppbi.com




Corporate Office
17901 Von Karman Ave., 12th Floor, Irvine, CA 92614
                                                                EXHIBIT A-4ph: 949-864-8000                                        www.ppbi.com
                                                                                                    A Pacific Premier Bancorp, App.      027
                                                                                                                               Inc. Company (PPBI)
                   Case 3:17-cv-00312-B Document 19 Filed 05/24/17                             Page 30 of 49 PageID 171

                                                           Checklist of Remaining Items Needed
                                                       Group Midland Hotels, LLC – SBA Loan Review



      Group Midland Hotels LLC to Provide:
      1. 2015 Business Tax Returns with all Schedule K-1s or Extension.
      2. 2014 Business Tax Returns with all Schedule K-1s or Extension.
      3. 2016 Interim Business Financial Statements.
      4. Business Debt Schedule (form attached).

      Chetna Hira to Provide:
      1. 2016 Personal Financial Statement to be filled out and signed (form attached).
      2. 2015 Personal Tax Returns with all Schedule K-1s or Extension.
      3. 2014 Personal Tax Returns with all Schedule K-1s.
      4. 2013 Personal Tax Returns with all Schedule K-1s.




Corporate Office
117901 Von Karman Ave., 12th Floor, Irvine, CA 92614                               ph: 949-864-8000                                  www.ppbi.com
                                                                    EXHIBIT A-4                       A Pacific Premier Bancorp, App.      028
                                                                                                                                 Inc. Company (PPBI)
Case 3:17-cv-00312-B Document 19 Filed 05/24/17                                                Page 31 of 49 PageID 172



                                                                                                         Pacific Premier Bank
                                                                                                         17901 Von Karman Ave.
                                                                                                         Suite 1200
                                                                                                         Irvine, CA 92614
                                                                                                         949-864-8000


 August 12, 2016

 Chetna Hira
 Group Midland Hotels
 4724 Byron Circle
 Irving, TX 75038-631824

 Loan Number: 6270015922
 Property:    2500 Commerce Dr., Midland, TX
              UCC-1 All Business Assets

                                             NOTICE OF INTENT TO FORECLOSE
 Dear Group Midland Hotels:

 Our records indicate that the referenced loan is in default and that the amount of principal, interest escrow,
 and late charges in delinquency is $18,011.03, as of the date of this letter. After today, there may be
 additional costs for a property inspection, additional payments, or any other charges that become due. Due
 to the delinquency, we require certified funds by overnight mail or delivery to a Pacific Premier Bank branch.
 In either case, the Collection Department, at (949) 864-8547 or toll-free at (800) 448-2265 must be notified
 on the date the default is cured or foreclosure fees may be charged to your loan due to the initiation of
 foreclosure. You may also call us at the toll free number to discuss foreclosure alternative options.

 If the delinquency is not cured by August 22, 2016, the entire outstanding balance of your loan may become
 immediately due and payable, and Pacific Premier Bank may pursue its rights and remedies under the loan
 documents, including, without limitation, proceeding with judicial or non-judicial foreclosure, obtaining the
 appointment of a receiver, and collecting fees for legal and trustee’s expenses, and, after the legal waiting
 period of at least 3 months, proceeding with sale of property under the Deed of Trust securing the
 referenced loan. You have the right to reinstate after this notice up to the sale date; and the right to bring a
 court action or assert in the foreclosure proceedings the non-existence of a default or any other defense you
 may have to the acceleration and foreclosure. Reinstatement will not be permitted after sale of the property
 is held.

 Please be advised that, pursuant to the Deed of Trust, if this is an Investment Property, your license to
 collect the rents generated by the property is hereby revoked, and demand is hereby made that you provide
 Pacific Premier Bank with copies of the current rent rolls and leases affecting the property and all operating
 statements generated for the property since the date of default.

 Notwithstanding the foregoing, Pacific Premier Bank hereby reserves all of it rights and remedies under the
 documents evidencing or securing the loan or executed in connection therewith. Nothing contained herein
 shall be deemed to modify or waive any term or provision of said documents nor alters or curtails in any way
 Pacific Premier Banks’ abilities to pursue its remedies there under.

 Sincerely,

 Tammy Madsen
 AVP/Loss Mitigation
 949-864-8547
                                  NOTICE UNDER FAIR DEBT COLLECTION PRACTICES ACT

 This is an attempt to collect a debt and any information obtained will be used for that purpose. Unless within thirty days after receipt
 you dispute this debt, or a portion of it, the debt will be assumed by us to be valid. If you notify us in writing within thirty days that
 you dispute this debt or a portion of it, or that you request the name and address of the original creditor if different from the current
 creditor, we will obtain verification and provide you with a copy of the information.
 You may qualify for homeownership counseling through the department of Housing and Urban Development (HUD). Please contact
 HUD at (800) 569-4287 which will provide a list of HUD-approved nonprofit counseling organizations that serve your area, or via the
 web at www.hud.gov/offices/hsg/sfh/hcc/hccprof14.cfm


                                                         EXHIBIT A-4
                                                                                                                                App. 029
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17                     Page 32 of 49 PageID 173



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

PACIFIC PREMIER BANK,                                §
           Plaintiff,                                §
                                                     §
           vs.                                       §    CIVIL ACTION NO. 3:17-CV-00312-B
                                                     §
GROUP MIDLAND HOTELS, LLC, and                       §
CHETNA HIRA,                                         §
          Defendants.                                §

                             AFFIDAVIT OF ROBERT P. LATHAM

STATE OF TEXAS                  §
                                §
DALLAS COUNTY                   §
       Before me, the undersigned notary, on this day personally appeared Robert P. Latham, a
person whose identity is known to me. After I administered an oath to him, upon his oath he
said:

           1.    My name is Robert P. Latham. I am capable of making this affidavit. The facts

stated in this affidavit are within my personal knowledge and are true and correct.

        2.       I am a partner at the law firm of Jackson Walker L.L.P. ("Jackson Walker"). I

was licensed to practice law in the State of Texas in 1983 and have actively practiced law on a

full time basis since then, principally in Dallas County. My practice has involved bankruptcy,

creditors' rights, and other civil litigation in state and federal courts.

        3.       Attached hereto as Exhibit B-1 is a true and correct copy of Defendant Chetna

Hira' s Responses to Plaintiffs First Requests of Interrogatories, Request for Production of

Documents, and Request for Admissions, dated May 5, 2017. The foregoing document is a true,

correct, and authentic copy of discovery responses served by Defendant Chetna Hira in this

lawsuit.




AFFIDAVIT OF ROBERT P. LA THAM                                                           Page I of6
                                             EXHIBIT B
                                                                                      App. 030
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17                   Page 33 of 49 PageID 174



       4.      I am familiar with the guidelines established by the State Bar of Texas concerning

the factors to be considered in determining a reasonable fee for professional legal services. In

addition I am familiar with the fees customarily charged for legal counsel and representation of

the nature that has been performed in these proceedings.

       5.      This affidavit contains information relating to Pacific Premier Bank's ("Plaintiff')

reasonable attorneys' fees and costs incurred in prosecution of the above-referenced case.

Accordingly, I hereby submit this affidavit, taking into account the following factors:

               (a)      the novelty and difficulty of the question involved and the skill requisite to

               perform the legal services properly;

               (b)      the fee customarily charged in the locality for similar legal services;

               (c)      the total dollar amount involved and the results obtained;

               (d)      time limitations imposed by the client or the circumstances;

               (e)      the experience, reputation, and ability of the firm and the attorney

               handling the matter.

       See Tex. Ci . Prac. & Rem. Code§ 26.003(a); Rule 1.04 (b), Texas Disciplinary Rules of

Professional Conduct.

       6.      My firm was retained by Pacific Premier Bank,          .A. ("Plaintiff') to assist in its

prosecution of the above-referenced cause. I have personally performed or have supervised the

performance of legal services for and on behalf of the Plaintiff in this action. Specifically, I,

along with Jackson Walker associate Lindsey Marsh, performed the work in this lawsuit on

behalf of Plaintiff. Plaintiff has incurred attorneys fees in the prosecution of this suit that were

reasonable and necessary. Plaintiff has also incurred attorneys' fees and expenses relating to the

enforcement of the Note in the GMH Bankruptcy proceeding In re Group Midland Hotels, LLC,




AFFIDAVIT OF ROBERT P. LATHAM                                                                 Page 2 of6
                                           EXHIBIT B
                                                                                          App. 031
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17                 Page 34 of 49 PageID 175



Case No. 17-70021 , in the United States Bankruptcy Court for the Western District of Texas,

Midland Division, Chapter 11 (the "GMH Bankruptcy"). Hira is obligated to pay these amounts

because the fees and expenses alI relate to the collection of GMH' s indebtedness to Plaintiff.

       7.      The reasonable attorneys ' fees incurred by Plaintiff during the period November

1, 2016 to May 18, 2017 in connection with Plaintiff's collection efforts and to investigate and

prosecute this case through the preparation of this motion for summary judgment are $53 ,985.00.

The reasonable costs and expenses incurred by Plaintiff as of May 18, 2017 in connection with

Plaintiff's collection efforts and to investigate and prosecute this case through the preparation of

this motion for summary judgment are $1 ,296.53 . Therefore, the total attorneys' fees, reasonable

costs and expenses incurred by Plaintiff as of May 18, 2017 in connection with Plaintiff's

collection efforts and to investigate and prosecute this case through the preparation of this

motion for summary judgment are $55 ,281.53 . In my opinion, these attorneys' fees, costs, and

expenses are reasonable and necessary for the work Jackson Walker performed in this matter

through May 18, 2017.

       8.      Based upon consideration of all the factors stated above, reasonable attorneys'

fees and costs incurred and paid by Plaintiff for prosecution of this action to date are $55,281.53.

Attached hereto as Exhibit B-2 are redacted itemized statements of legal services rendered by

Jackson Walker on behalf of Plaintiff. These records are kept by Jackson Walker in the regular

course of business, and it was in the regular course of Jackson Walker's business for an

employee with personal knowledge of the act, event, or condition recorded, to make the records

or to transmit information thereof to be included in such records, and the records were made at or

near the time of the act, event, or condition recorded or reasonably soon thereafter.




AFFIDAVIT OF ROBERT P. LA TH AM                                                            Page 3 of 6
                                          EXHIBIT B
                                                                                        App. 032
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17                              Page 35 of 49 PageID 176



         9.              Plaintiff seeks from Hira a total amount of $53,985.00 in fees and $1 ,296.53 in

expenses for a sum total of $55,281.53.

         10.            Additionally, it is my opinion that the reasonable value of attorneys' fees, costs,

and expenses reasonably and necessarily incurred by Plaintiff should Jackson Walker be required

to represent Plaintiff on appeal to the United States Court of Appeals for the Fifth Circuit is

$25,000.00.

         11.            Further, it is my opinion that the reasonable value of attorneys ' fees, costs, and

expenses reasonably and necessarily incurred by Plaintiff should Jackson Walker be required to

represent Plaintiff on appeal to the United States Supreme Court is $30,000.00.



         FURTHERAFFIANTSAYETHNOT.                                '11../                ~

                                                             Roefti!1·7
         SUBSCRIBED and SWORN TO before me on this the l!l_-!fray of                     Ma.&1      '2017
to certify my hand and official seal.


              $'~-:i:~~'iJ~,,,,DALIA A. VICENCIO
                                                                 £2_t,__:__L~
                                                             Notary Public Signature
              £f{:.A~::}~~ Notary Public, State of Texas
                  .. ...
              ~~· ~ f~ Comm. Expires 08-01-2020
               ,,,,z.#,;~,~    Notary ID 4634792




AFFIDA VJT OF ROBERT P. LATHAM                                                                    Page 4 of6
18318232,._ I                                              EXHIBIT B
                                                                                               App. 033
     Case 3:17-cv-00312-B Document 19 Filed 05/24/17             Page 36 of 49 PageID 177



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

PACIFIC PREMIER BANK                                     §
                    Plaintiff,                           §
                                                         §
v.                                                       §       CIVIL ACTION NO. 3:17-CV-
                                                         §                         00312-B
                                                         §
GROUP MIDLAND HOTELS, LLC AND                            §
CHETNA HIRA                                              §
                  Defendants.                            §

      DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF
      INTERROGATORIES, REQUEST FOR PRODUCTION OF DOCUMENTS, AND
                        REQUEST FOR ADMISSIONS


                                    INTERROGATORIES

INTERROGATORY NO. 1: Identify all Persons with whom You consulted or who assisted You
in responding to these interrogatories. As to each named Person, identify the home and business
address, telephone, the nature of each Person’s relationship to You and the particular
interrogatory(ies) about which You consulted or received assistance from that person.

         RESPONSE: Sunil Patel, 2220 Pistachio Dr., Irving, Texas 75063. 972-467-6756.


INTERROGATORY NO. 2: Please state each legal and factual basis for any contention that
You do not owe the amounts which remain due and owing under the Note and/or Guaranty,
including the balance of the principal, accrued interest, and all lawful fees and expenses,
including Plaintiff’s attorneys’ fees.

       RESPONSE: Defendant is entitled to any credits and offsets as determined in the
contemporaneous bankruptcy proceeding involving the entity. The claim has not yet been
approved pursuant to a plan of reorganization; therefore, the amount allegedly due from
Defendant is not yet known.


INTERROGATORY NO. 3: Please identify each defense that You are asserting or that You will
assert concerning Plaintiff’s claims in this lawsuit, and state the factual basis for each defense.

      RESPONSE: Defendant is entitled to any credits and offsets as determined in the
contemporaneous bankruptcy proceeding involving the entity. The claim has not yet been


DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
                                 Page 1

                                         EXHIBIT B-1                                   App. 034
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approved pursuant to a plan of reorganization; therefore, the amount allegedly due from
Defendant is not yet known.


INTERROGATORY NO. 4: Please describe each communication You have had with Plaintiff
concerning the Note and/or Guaranty. You are requested to identify the individuals involved, the
date, the substance of that communication, and whether any documents were created relating to
that communication.

       RESPONSE: Ms. Hira does not speak English and therefore had no communications
with Plaintiff.


INTERROGATORY NO. 5: Please identify any and all payments You contend have been made
under the Note and/or Guaranty. You are requested to identify the dates and amounts of all such
payments, as well as the type of payments made, whether by check (including the check
numbers), cash, or otherwise.

        RESPONSE: Payments were made up until 2016. In the bankruptcy, payments of
$5,000 per month are currently being paid. The exact payment history is within the knowledge
of Plaintiff and is now within the purview of the bankruptcy court.


INTERROGATORY NO. 6: Please describe any and all reasons You have not made full
payments on the Note and/or Guaranty as required.

       RESPONSE: The amount of the claim is not yet known.


INTERROGATORY NO. 7: If You denied any of Plaintiff’s request for Admissions, state the
reason for such denial.

        RESPONSE: Objection: This interrogatory is overly broad and vexatious. Further, to
the extent that the 25 interrogatory limitation applies, this request arguably exceeds same or
would cause Plaintiff to exceed same as each denied request for admission becomes its own
interrogatory or discrete subpart.


INTERROGATORY NO. 8: Please identify the amount of the indebtedness owed on the Note
that You acknowledge to be indebted to Plaintiff.

      RESPONSE: Defendant believes the amount owed is approximately $2,295,647.96 as of
March 31, 2017.




DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
                                 Page 2

                                       EXHIBIT B-1                                  App. 035
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INTERROGATORY NO. 9: If Your answer to Interrogatory 8 was “zero” or less than the
amount Plaintiff alleged in the Complaint, provide the factual basis for Your contention that You
owe less than the full amount due on the note, dates and amounts of payment, including reasons
for withholding full payment.

      RESPONSE: The payment history and application of interest is within the exclusive
knowledge of Plaintiff.


INTERROGATORY NO. 10:                Please identify the specific provision(s) of the Note upon
which You rely to justify Your refusal to pay amounts due under the Note.

       RESPONSE: Pursuant to the Note, guarantor is only obligated to pay whatever the
obligor/maker is obligated to pay. As the debt is currently in bankruptcy, that Court has the
exclusive jurisdiction to liquidate the claim.


INTERROGATORY NO. 11:               Please identify the specific provision(s) of the Guaranty
upon which You rely to justify Your refusal to pay amounts due under the Guaranty.

       RESPONSE: Please see response 10 above.


INTERROGATORY NO. 12:                 Identify all bank accounts, mutual funds, investment funds,
and/or other financial accounts in which You have or have had any interest at any time since
December 1, 2012. For each account, provide the financial institution’s name and address, the
name on the account, the account number, and the balance of the account.

       RESPONSE: Objection: This request is not reasonably calculated to lead to the
discovery of admissible evidence. This request is akin to a postjudgment collection effort.


INTERROGATORY NO. 13:                  State whether You have transferred money or its equivalent
in the amount of over $1,000.00 to a Trustee, nominee or any other person or entity for Your
Benefit or for the benefit of any other person or entity during the past year and, if so, for each
please state:
    a. The value of the transfer;
    b. The name and address of the person or entity to whom the money or its equivalent was
        transferred; and
    c. The reason for such transfer.

    RESPONSE:          Objection: This request is not reasonably calculated to lead to the
discovery of admissible evidence. This request is akin to a postjudgment collection effort.
Further, fraudulent transfer is not a cause of action in this case.



DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
                                 Page 3

                                        EXHIBIT B-1                                   App. 036
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17                 Page 39 of 49 PageID 180



INTERROGATORY NO. 14:                  State whether any person or entity is holding any property
for Your benefit or in your behalf, either as nominee Trustee or in any other capacity and, if so,
for each please state:
    a. Description of the property so held;
    b. Value of the property; and
    c. The name and address of the person or entity holding such property.

       RESPONSE: Objection: This request is not reasonably calculated to lead to the
discovery of admissible evidence. This request is akin to a postjudgment collection effort.


INTERROGATORY NO. 15:                 State whether or not You transferred to a Trustee, nominee
or any other person or entity for Your benefit or for the benefit of any other person or entity, any
property of any kind, regardless of where it is situated, during the past year and, if so, for each
please state:
    d. A description of the property;
    e. The value of the property;
    f. The name and address of the person or entity to whom the property was transferred; and
    g. The reason for such transfer.

    RESPONSE:          Objection: This request is not reasonably calculated to lead to the
discovery of admissible evidence. This request is akin to a postjudgment collection effort.
Further, fraudulent transfer is not a cause of action in this case.



                      DEFENDANT CHETNA HIRA’S RESPONSE TO
                       PLAINTIFF’S REQUEST FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:                 All correspondence or communication between Hira
and Plaintiff concerning the Note.

       RESPONSE: Respondent will produce financial statements which were transferred
through the attorneys in support of settlement efforts.


REQUEST FOR PRODUCTION NO. 2:                 All correspondence or communication between Hira
and Plaintiff concerning the Guaranty.

       RESPONSE: Respondent will produce financial statements which were transferred
through the attorneys in support of settlement efforts.


REQUEST FOR PRODUCTION NO. 3:             All non-privileged correspondence or
communications with Hira and any person concerning the Note and/or Guaranty and/or payments
under the Note and/or Guaranty.

DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
                                 Page 4

                                         EXHIBIT B-1                                    App. 037
 Case 3:17-cv-00312-B Document 19 Filed 05/24/17               Page 40 of 49 PageID 181




        RESPONSE: None other than financial statements and settlement efforts. Respondent
will produce.


REQUEST FOR PRODUCTION NO. 4:           All Documents concerning any communication
regarding whether You should make payments on the Note and/or Guaranty to Plaintiff.

        RESPONSE: Objection: This request is ambiguous and does not describe with
reasonable particularity the documents sought. No documents are being withheld subject to this
objection.


REQUEST FOR PRODUCTION NO. 5:               All correspondence concerning any payments You
made on the Note and/or Guaranty.

        RESPONSE: None.


REQUEST FOR PRODUCTION NO. 6:               All Documents relating to, supporting or evidencing
any defense to Your obligations under the Note.

       RESPONSE: Objection: This request does not describe the documents sought with
reasonable particularity. It further violates the attorney core work product privilege. No
documents are being withheld subject thereto.


REQUEST FOR PRODUCTION NO. 7:               All Documents relating to, supporting or evidencing
any defense to Your obligations under the Guaranty.

       RESPONSE: Objection: This request does not describe the documents sought with
reasonable particularity. It further violates the attorney core work product privilege. No
documents are being withheld subject thereto.


REQUEST FOR PRODUCTION NO. 8:                  All Documents You relied upon or reviewed in
responding to Plaintiff’s First Set of Interrogatories.

        RESPONSE: None other than the financial statements to discern the amount allegedly
owed.


REQUEST FOR PRODUCTION NO. 9:                 All Documents You relied upon or reviewed in
responding to Plaintiff’s First Set of Requests for Admissions.



DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
                                 Page 5

                                       EXHIBIT B-1                                  App. 038
 Case 3:17-cv-00312-B Document 19 Filed 05/24/17              Page 41 of 49 PageID 182



        RESPONSE: Objection: This request is overly broad and does not describe the
documents sought with reasonable particularity. No documents are being withheld subject to the
objections.


REQUEST FOR PRODUCTION NO. 10: All Documents concerning any communications
between Hira and any person or entity, relating to Plaintiff and the Note and/or Guaranty.

       RESPONSE: Respondent will produce.


REQUEST FOR PRODUCTION NO. 11:             All agreements or contracts between Hira and
Plaintiff.

       RESPONSE: Please see the guaranty.


REQUEST FOR PRODUCTION NO. 12:             All drafts of all agreements or contracts between
Hira and Plaintiff.

       RESPONSE: None known.


REQUEST FOR PRODUCTION NO. 13: All documents supporting any contention that You
do not owe any part of the amounts due under the Loan Documents.

       RESPONSE: Respondent will produce.


REQUEST FOR PRODUCTION NO. 14: All documents which You intend to rely upon, or
introduce as evidence, at trial in this matter.

RESPONSE: Objection: This request invades the attorney core work product privilege. No
documents are being withheld subject to this objection.




DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
                                 Page 6

                                       EXHIBIT B-1                                 App. 039
  Case 3:17-cv-00312-B Document 19 Filed 05/24/17               Page 42 of 49 PageID 183



     DEFENDANT’S RESPONSE TO PLAINTIFF’S REQUEST FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1:               Admit that Exhibit A-1 attached to the Complaint is
a true and correct copy of the Loan Agreement.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 2:                 Admit that You executed Exhibit A-1 to the
Complaint.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 3:                 Admit that Exhibit A-2 attached to the Complaint is
a true and correct copy of the Note.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 4:                 Admit that You executed Exhibit A-2 to the
Complaint.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 5:                  Admit that Exhibit A-3 attached to the Complaint is
a true and correct copy of the Deed of Trust.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 6:                 Admit that You executed Exhibit A-3 to the
Complaint.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 7:                 Admit that Exhibit A-4 attached to the Complaint is
a true and correct copy of the Security Agreement.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 8:                 Admit that You executed Exhibit A-4 to the
Complaint.

DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REQUEST FOR PRODUCTION and REQUEST FOR ADMISSIONS
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                                        EXHIBIT B-1                                  App. 040
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       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 9:                  Admit that Exhibit A-5 attached to the Complaint is
a true and correct copy of the Guaranty.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 10:                 Admit that You executed Exhibit A-5 to the
Complaint.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 11:                 Admit that You received a demand for payment on
the Loan Agreement from Plaintiff.

        RESPONSE: Deny. Respondent is not an obligor under the Loan Agreemen and
therefore lacks capacity to receive such demand individually. Respondent admits to receiving
demand to the entity.


REQUEST FOR ADMISSION NO. 12:                 Admit that You received a demand for payment on
the Guaranty from Plaintiff.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 13:                 Admit that You received a demand for payment on
the Note from Plaintiff.

        RESPONSE: Deny. Respondent is not an obligor under the Note and therefore lacks
capacity to receive such demand individually. Respondent admits to receiving notice to the
entity.


REQUEST FOR ADMISSION NO. 14:                  Admit that Exhibit A-6 to the Complaint are true
and correct copies of notices of default sent to You by Plaintiff.

RESPONSE:        Admit.


REQUEST FOR ADMISSION NO. 15:                 Admit that You received a written demand for
payment from Plaintiff.

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        RESPONSE: Deny. Respondent is not an obligor under the Note and therefore lacks
capacity to receive such demand individually. Respondent admits to receiving demand to the
entity.


REQUEST FOR ADMISSION NO. 16:                Admit that You received a Notice of Intent to
Foreclose from Plaintiff.

        RESPONSE: Deny. The notice was sent to the hotel. Respondent received notice to the
entity from the hotel.


REQUEST FOR ADMISSION NO. 17:                  Admit that Exhibit A-6 to the Complaint includes
true and correct copies of Notices of Intent to Foreclose from Plaintiff.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 18:                Admit that You guaranteed to preserve the
Collateral, as defined in the Guaranty.

        RESPONSE: Deny as to respondent being an obligor to preserve collateral. The entity
is the obligor thereto.


REQUEST FOR ADMISSION NO. 19:                  Admit that You are required to provide financial
statements as Plaintiff requires, pursuant to the Guaranty.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 20:                 Admit that you have failed to provide financial
statements that Plaintiff has requested from You.

       RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 21:                Admit that You have failed to pay the amounts due
to Plaintiff under the Note.

       RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 22:                Admit that GMH has failed to pay the amounts due
to Plaintiff under the Note.

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       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 23:               Admit that You have failed to pay the amounts due
to Plaintiff under the Loan Agreement.

       RESPONSE: Deny as to respondent being an obligor thereunder. Otherwise admit.

REQUEST FOR ADMISSION NO. 24:               Admit that GMH has failed to pay the amounts due
to Plaintiff under the Loan Agreement.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 25:               Admit that You have failed to pay the amounts due
to Plaintiff under the Guaranty.

       RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 26:               Admit that there is an outstanding balance due on
the Note.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 27:               Admit that there is an outstanding balance due on
the Loan Agreement.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 28:               Admit that the full amount of the principal on the
Note has not been paid by You.

       RESPONSE: Deny as to respondent being an obligor thereunder. Otherwise admit.


REQUEST FOR ADMISSION NO. 29:               Admit that Plaintiff is the current lender under the
Loan Agreement.

       RESPONSE: Respondent cannot admit nor deny as respondent cannot know of the Note
was transferred without her knowledge. This is an issue exclusively within Plaintiff’s
knowledge.


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REQUEST FOR ADMISSION NO. 30:                 Admit that Plaintiff is the current payee under the
Note.

       RESPONSE: Respondent cannot admit nor deny as respondent cannot know of the Note
was transferred without her knowledge. This is an issue exclusively within Plaintiff’s
knowledge.

REQUEST FOR ADMISSION NO. 31:                 Admit that Plaintiff is the current holder of the
Note.

       RESPONSE: Respondent cannot admit nor deny as respondent cannot know of the Note
was transferred without her knowledge. This is an issue exclusively within Plaintiff’s
knowledge.

REQUEST FOR ADMISSION NO. 32:            Admit that pursuant to the terms of the Guaranty,
You promised full and prompt payment and performance of all obligations owed by GMH to
Plaintiff arising out of the Note.

       RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 33:                  Admit that under the Guaranty, upon GMH’s
default, You are obligated to pay all of the unpaid principal balance.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 34:                  Admit that under the Guaranty, upon GMH’s
default, You are obligated to pay all of the interest accrued.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 35:                 Admit that under the Guaranty, You are obligated to
pay all of the enforcement costs, including attorneys’ fees and court costs incurred by Plaintiff in
enforcing the terms of the Guaranty.

       RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 36:                 Admit that the Guaranty remains in effect until the
Note is paid in full.

        RESPONSE: Objection. This is a pure question of law. Respondent is not otherwise
qualified to render a legal opinion.

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REQUEST FOR ADMISSION NO. 37:           Admit that You are in default under the Note.

      RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 38:           Admit that GMH is in default under the Note.

      RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 39:           Admit that You are in default under the Loan
Agreement.

      RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 40:           Admit that GMH is in default under the Loan
Agreement.

      RESPONSE: Admit.


REQUEST FOR ADMISSION NO. 41:           Admit that You have not paid the unpaid balance
due on the Note.

      RESPONSE: Deny as to Hira being an obligor to the Note. Otherwise admit.


REQUEST FOR ADMISSION NO. 42:           Admit that You have not satisfied Your obligations
under the Guaranty.

      RESPONSE: Deny.


REQUEST FOR ADMISSION NO. 43:           Admit that You breached the Guaranty.

      RESPONSE: Deny.




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                                             Respectfully submitted,


                                             /s/ Jules P. Slim
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                                             Irving, TX 75014
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                                             jslim@slimlawfirm.com
                                             ATTORNEY FOR CHETNA HIRA


                                CERTIFICATE OF SERVICE

       I, the undersigned, Jules P. Slim, hereby certify that a copy of the above instrument was
served on the following via the method described below this 5th day of May, 2017.

Robert P. Latham                                  Sent via Email
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blatham@jw.com
Lindsey E. marsh
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                                                    /s/ Jules P. Slim
                                                    Jules P. Slim




DEFENDANT CHETNA HIRA’S RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES,
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STATE OF TEXAS                   §
                                 §
COUNTY OF DALLAS                 §

                                 VERIFICATION

       CAME BEFORE me on this day, Chetna Hira, who stated and deposed that
(s)he is over the age of 21, has never been convicted on a felony, and is otherwise
competent and authorized to sign this instrument. The Affiant further stated and
deposed that ( s)he has read the above answers or amended answers to
interrogatories respective hereto, and that the responses are within his/her personal
knowledge, and are true and correct. Deponent is not verifying information
obtained from other persons including the requesting party his/her attorney,
persons with knowledge of relevant facts, trial witnesses, and legal contentions.

      FURTHER AFFIANT SAITH NOT


                                              Chetna Hira




SEAL:




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